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             Business Platinum Card                                                                               p. 1/9




 American Express
 PO Box 297800
 Ft Lauderdale, FL 33329-7800
                                                                                                      February 21, 2022
 Account Ending In: 0-61006

 Dear DUSTIN T ETTER,

 We're making the switch to paperless Billing Statements (statements) and account communications, beginning May 2022.
 Here's what happens next
 We want to help you get ready to make the switch too. So, we've enrolled your account listed above in the paperless delivery
 option - but for now, we'll continue to send you communications about your account in the mail. We'll also mail your statements
 for the closing dates of February 2022, March 2022, and April 2022.
 After that, we'll send account communications to you by email, and you'll receive your monthly statements electronically. When
 they're ready, you'll be able to view your statements anytime by logging into your account online at americanexpress.com or
 in the American Express® App*.
 What you can expect with paperless statements
 Each month, after your statement closing date, we'll send you an email alert letting you know your statement is ready to view
 online. You'll also receive:
      ·    A Payment Reminder email alert as your due date approaches, if you haven't already made your payment.
      ·    A Payment Received confirmation email alert after a payment has been posted to your account.
 The benefits of going paperless
 Going paperless is environmentally friendly and reduces the amount of mail you receive. You can easily view and manage
 your statements anytime in one secure location - and you'll be able to see additional details about your purchases. You can
 even access up to seven years of statements online.
 Something we suggest
 If you'd like to learn more about how paperless delivery can improve your account experience, check out a series of helpful
 videos we made at youtube.com/watch?v=0V8pRMZtI5E.
 Not ready to go paperless?
 No problem! You can re-enroll in paper statements and account communications by going to
 americanexpress.com/paperlesssettings, selecting "U.S. Mail" and following the prompts to opt back in.
 We're here to help
 If you have any questions, you can chat with us online or give us a call at the Customer Care number listed on your statement
 and the back of your Card. We're here for you 24/7.
 Thanks,
 American Express
 * iOS and Android only. See app store listing for operating system info.




                    DUSTIN T ETTER
                    ALLIANCE ENERGY PART
                    20008 CHAMPN FRST DR
                    STE 1203
                    SPRING TX 77379




499929141604860221
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DUSTIN T ETTER                    Account Ending 0-61006                      p. 2/9
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              Business Platinum Card                                                                                                   p. 3/9
              ALLIANCE ENERGY PART
              DUSTIN T ETTER                                                                                        Customer Care:   1-800-492-8468
              Closing Date 02/21/22  Next Closing Date 03/24/22                                                     TTY:               Use Relay 711
              Account Ending 0-61006                                                                                Website:    americanexpress.com

                                                                                                      Membership Rewards® Points
  New Balance                                                           $9,215.63                     Available and Pending as of 01/31/22
  Minimum Payment Due                                                      $92.00                                                          22,525
                                                                                                      For up to date point balance and full program
                                                                                                      details, visit membershiprewards.com
  Payment Due Date                                                       03/18/22                  Account Summary

  Late Payment Warning: If you do not pay the Minimum Payment Due by the                              Pay In Full Portion
  Payment Due Date of 03/18/22 , you may have to pay a late fee of $39.00 and                          Previous Balance                          $0.00
  your Pay Over Time APR may be increased to the Penalty APR of 29.24 %.                               Payments/Credits                         -$0.00
                                                                                                       New Charges                              +$0.00
                                                                                                       Fees                                     +$0.00
                                                                                                       New Balance             =                 $0.00
                                                                                                      Pay Over Time Portion
                                                                                                       Previous Balance                    $5,364.66
Minimum Payment Warning: If you make only the minimum payment each period,                             Payments/Credits                   -$5,364.66
you will pay more in interest and it will take you longer to pay off your Pay Over Time                New Charges                       +$9,215.63
balance. For example:                                                                                  Fees                                   +$0.00
                                                                                                       Interest Charged                       +$0.00
If you make no additional        You will pay off the balance     And you will pay an                  New Balance        =                $9,215.63
charges and each month you       shown on this statement in       estimated total of...                Minimum Due                            $92.00
pay...                           about...

        Only the                                                                                      Account Total
                                            21 years                          $22,150
  Minimum Payment Due                                                                                  Previous Balance                   $5,364.66
                                                                                                       Payments/Credits                   -$5,364.66
                                                                             $12,047                   New Charges                        +$9,215.63
            $335                            3 years                    (Savings = $10,103)             Fees                                   +$0.00
                                                                                                       Interest Charged                       +$0.00
If you would like information about credit counseling services, call 1-888-733-4139.
                                                                                                       New Balance                         $9,215.63
     See page 4 for important information about your account.                                          Minimum Payment Due                    $92.00


     Please refer to the IMPORTANT NOTICES section on                                                 Pay Over Time Limit                 $15,000.00
     page 9.                                                                                          Available Pay Over Time Limit        $5,784.37
                                                                                                      Days in Billing Period: 28
     For information on your Pay Over Time feature and limit, see page 8




  Please fold on the perforation below, detach and return with your payment
 (                                                                                (
      Payment Coupon                            Pay by Computer                         Pay by Phone                        Account Ending 0-61006
      Do not staple or use paper clips          americanexpress.com/                    1-800-472-9297
                                                business                                                     Enter 15 digit account # on all payments.
                                                                                                             Make check payable to American Express.


                    DUSTIN T ETTER                                                                                                 Payment Due Date
                    ALLIANCE ENERGY PART                                                                                                 03/18/22
                    20008 CHAMPN FRST DR
                    STE 1203                                                                                                            New Balance
                    SPRING TX 77379                                                                                                     $9,215.63
                                                                                                                              Minimum Payment Due
                                                                                                                                             $92.00

                                                        AFDTTAAAAAAAAFAFDAATDAFADATFFTADAATFTTDDADAAAFATFDFDDFATATADDDATF
       See reverse side for instructions                AMERICAN EXPRESS
                                                        P.O. BOX 650448
                                                                                                                              $                 .
                                                                                                                                    Amount Enclosed
       on how to update your address,
       phone number, or email.                          DALLAS TX 75265-0448


      0000349992914160486 000921563000009200 20 Á
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  DUSTIN T ETTER                                                   Account Ending 0-61006                                                      p. 4/9

Payments: Your payment must be sent to the payment address shown on                highest interbank rate we identify from customary banking sources on the
your statement and must be received by 5 p.m. local time at that address to        conversion date or the prior business day. This rate may differ from rates in
be credited as of the day it is received. Payments we receive after 5 p.m. will    effect on the date of your charge. Charges converted by establishments will
not be credited to your Account until the next day. Payments must also: (1)        be billed at the rates such establishments use.
include the remittance coupon from your statement; (2) be made with a              Credit Balance: A credit balance (designated CR) shown on this statement
single check drawn on a US bank and payable in US dollars, or with a               represents money owed to you. If within the six-month period following
negotiable instrument payable in US dollars and clearable through the US           the date of the first statement indicating the credit balance you do not
banking system; and (3) include your Account number. If your payment               request a refund or charge enough to use up the credit balance, we will
does not meet all of the above requirements, crediting may be delayed and          send you a check for the credit balance within 30 days if the amount is
you may incur late payment fees and additional interest charges. Electronic        $1.00 or more.
payments must be made through an electronic payment method payable                 Credit Reporting: We may report information about your Account to credit
in US dollars and clearable through the US banking system. Please do not           bureaus. Late payments, missed payments, or other defaults on your
send post-dated checks as they will be deposited upon receipt. Any                 Account may be reflected in your credit report.
restrictive language on a payment we accept will have no effect on us              Billing Dispute Procedures
without our express prior written approval. We will re-present to your             What To Do If You Think You Find A Mistake On Your Statement
financial institution any payment that is returned unpaid.                         If you think there is an error on your statement, write to us at:
Permission for Electronic Withdrawal: (1) When you send a check for                American Express, PO Box 981535, El Paso TX 79998-1535
payment, you give us permission to electronically withdraw your payment            In your letter, give us the following information:
from your deposit or other asset account. We will process checks                   - Account information: Your name and account number.
electronically by transmitting the amount of the check, routing number,            - Dollar amount: The dollar amount of the suspected error.
account number and check serial number to your financial institution,              - Description of Problem: Describe what you believe is wrong and why you
unless the check is not processable electronically or a less costly process is     believe it is a mistake.
available. When we process your check electronically, your payment may             You must contact us:
be withdrawn from your deposit or other asset account as soon as the same          - Within 60 days after the error appeared on your statement.
day we receive your check, and you will not receive that cancelled check           - At least 2 business days before an automated payment is scheduled, if you
with your financial account statement. If we cannot collect the funds              want to stop payment on the amount you think is wrong.
electronically we may issue a draft against your deposit or other asset            You must notify us of any potential errors in writing. You may call us, but if
account for the amount of the check. (2) By using Pay By Computer, Pay By          you do we may not follow these procedures and you may have to pay the
Phone or any other electronic payment service of ours, you give us                 amount in question.
permission to electronically withdraw funds from the deposit or other asset        What Will Happen After We Receive Your Letter
account you specify in the amount you request. Payments using such                 When we receive your letter, we will do two things:
services of ours received after 8:00 p.m. MST may not be credited until the        1. Within 30 days of receiving your letter, we will tell you that we received
next day.                                                                          your letter. We will also tell you if we have already corrected the error.
How We Calculate Your Balance: We use the Average Daily Balance (ADB)              2. We will investigate your inquiry and will either correct the error or
method (including new transactions) to calculate the balance on which we           explain to you why we believe the bill is correct.
charge interest for Pay Over Time balances on your Account. Call the               While we investigate whether or not there has been an error:
Customer Care number on page 5 for more information about this balance             - We will not try to collect the amount in question.
computation method and how resulting interest charges are determined.              - The charge in question may remain on your statement, and we may
The method we use to calculate the ADB and interest results in daily               continue to charge you interest on that amount.
compounding of interest.                                                           - While you do not have to pay the amount in question, you are responsible
How to Avoid Paying Interest: If you have a Pay Over Time balance, your            for the remainder of your balance.
due date is at least 25 days after the close of each billing period. We will not   - We can apply any unpaid amount against your credit limit.
charge interest on charges added to a Pay Over Time balance if you pay the         After we finish our investigation, one of two things will happen:
Account Total New Balance by the due date each month.                              - If we made a mistake: You will not have to pay the amount in question or
Foreign Currency Charges: If you make a Charge in a foreign currency, we           any interest or other fees related to that amount.
will convert it into US dollars on the date we or our agents process it. We        - If we do not believe there was a mistake: You will have to pay the amount
will choose a conversion rate that is acceptable to us for that date, unless a     in question, along with applicable interest and fees. We will send you a
particular rate is required by law. The conversion rate we use is no more          statement of the amount you owe and the date payment is due. We may
than the highest official rate published by a government agency or the             report you as delinquent if you do not pay the amount we think you owe.




                                                                                                                 Pay Your Bill with AutoPay
                                                                                                                 Deduct your payment from your bank
                                                                                                                 account automatically each month.

                                                                                                                   - Avoid late fees
                                                                                                                   - Save time
Change of Address, phone number, email
                                                                                                                 Visit americanexpress.com/autopay
   - Online at www.americanexpress.com/updatecontactinfo                                                         today to enroll.
   - Via mobile device
   - Voice automated: call the number on the back of your card
   - For name, company name, and foreign address or phone changes, please call Customer Care
Please do not add any written communication or address change on this stub                                     For information on how we protect your
                                                                                                               privacy and to set your communication
                                                                                                               and privacy choices, please visit
                                                                                                               www.americanexpress.com/privacy.
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             Business Platinum Card                                                                                       p. 5/9
             ALLIANCE ENERGY PART
             DUSTIN T ETTER
             Closing Date 02/21/22                                                                      Account Ending 0-61006

          Customer Care & Billing Inquiries                        1-800-492-8468
           International Collect                                   1-623-492-7719                  Website: americanexpress.com
           Express Cash                                            1-800-CASH-NOW
           Large Print & Braille Statements                        1-800-492-8468            Customer Care
                                                                                             & Billing Inquiries     Payments
                                                                                             P.O. BOX 981535         P.O. BOX 650448
                                                                                             EL PASO, TX             DALLAS TX 75265-
                                                                                             79998-1535              0448
          Hearing Impaired
          Online chat at americanexpress.com or use Relay dial 711 and 1-800-492-8468




 Payments and Credits
 Summary

                                                                       Pay In Full       Pay Over Time t                           Total
Payments                                                                     $0.00              -$5,364.66                  -$5,364.66
Credits                                                                      $0.00                   $0.00                         $0.00
Total Payments and Credits                                                  $0.00              -$5,364.66                  -$5,364.66


 Detail        *Indicates posting date

Payments                                                                                                                      Amount
02/03/22*      DUSTIN T ETTER                   ONLINE PAYMENT - THANK YOU                                                  -$5,364.66


 New Charges
 Summary
                                                                       Pay In Full       Pay Over Time t                           Total
DUSTIN T ETTER 0-61006                                                       $0.00               $2,254.43                   $2,254.43
JEROD P FURR 0-61014                                                        $0.00                $6,961.20                   $6,961.20
Total New Charges                                                           $0.00               $9,215.63                   $9,215.63


 Detail                                                                                                 t - denotes Pay Over Time activity
          DUSTIN T ETTER
          Card Ending 0-61006
                                                                                                                              Amount
01/24/22       RAISING CANE'S #294 #294                           ABILENE               TX                                      $17.30 t
               1368 79601
               RESTAURANT
01/24/22       ALON DK #64058 000002893                           EASTLAND              TX                                      $89.13 t
               2546291427
01/24/22       HEB ONLINE 108                                     855-803-0611          TX                                     $155.10 t
               855-803-0611
01/25/22       AplPay UBER EATS                                   SAN FRANCISCO         CA                                      $32.93 t
               8005928996
01/26/22       IRON HORSE TRAVEL CENTER 000000098                 MERKEL                TX                                      $70.36 t
               3253130005
01/26/22       DONA ANITAS LLC 0000                               MIDLAND               TX                                      $55.00 t
               432-683-6727
01/27/22       DIETER BROS RESTAURANT 650000001639874             GAINESVILLE           TX                                      $90.00 t
               9406655253
02/01/22       CENEX RED RIVER FARM COOP                          GAINESVILLE           TX                                     $100.00 t
               AUTO FUEL DISPENSER
02/01/22       HUNTERS TUNNEL EXPRESS 041399800869510             GAINESVILLE           TX                                      $13.00 t
               9406653519


                                                                                                               Continued on reverse
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 DUSTIN T ETTER                                  Account Ending 0-61006                          p. 6/9


 Detail Continued                                                              t - denotes Pay Over Time activity
                                                                                                     Amount
02/02/22    DIRECTV STREAM                              DALLAS            TX                          $162.36 t
            SVOD
02/07/22    AplPay DOORDASH*SAPPORO RAMEN               SAN FRANCISCO     CA                           $43.61 t
            +16506819470
02/08/22    HEB ONLINE 108                              855-803-0611      TX                           $59.40 t
            855-803-0611
02/09/22    VOLCANO 0001                                MIDLAND           TX                          $145.00 t
            432-704-5588
02/10/22    MURPHY5700ATWALMART 0927                    MIDLAND           TX                          $100.00 t
            800-843-4298
02/11/22    AT&T *PAYMENT                               800-288-2020      FL                           $71.16 t
            AT&T UVERSE
02/14/22    HUNTERS TUNNEL EXPRESS 041399800869510      GAINESVILLE       TX                           $13.00 t
            9406653519
02/15/22    CIRCLE K #2744503 000000000649791           GAINESVILLE       TX                           $89.20 t
            9406653880
02/16/22    SUNOCO ENERGY SERVICES                      GAINESVILLE       TX                          $100.00 t
            940-668-8518
02/16/22    HUNTER'S OIL DEPOT 0000                     GAINESVILLE       TX                           $91.48 t
            940-665-6924
02/18/22    DIETER BROS RESTAURANT 650000001639874      GAINESVILLE       TX                           $40.00 t
            9406655253
02/20/22    CHEVRON 0371975/CHEVRON                     MIDLAND           TX                           $94.89 t
            SERVICE STN
02/20/22    H-E-B                                       MIDLAND           TX                           $93.24 t
            9999999999
02/20/22    AMBIT TEXAS, LLC                            877-282-6248      TX                          $528.27 t
            UTL-EL/GS/WT
       JEROD P FURR
       Card Ending 0-61014
                                                                                                     Amount
01/25/22    TST* GRAB N GO TACOS - SP 300546196         SPRING            TX                           $44.20 t
            8325341166
01/26/22    LENNYS SUB SHOP - 293 000000001             SPRING            TX                           $24.85 t
            8327174800
01/29/22    HCTRA EZ TAG REBILL                         281-875-3279      TX                           $80.00 t
            281-875-3279
02/01/22    EL TIEMPO CANTINA VINTAG 0034               HOUSTON           TX                          $159.02 t
            346-867-1604
02/03/22    SNOOZE 416 THE WOODLANDS 0000               THE WOODLANDS     TX                           $66.00 t
            720-459-3140
02/04/22    BRADBURY BROTHERS HE 436845559212062        MAGNOLIA          TX                          $596.00 t
            JASON@BRADBURYBROTHERS.CO
02/04/22    H-E-B GAS/CARWASH #725 000000000361988      SPRING            TX                           $62.20 t
            8009874438
02/05/22    BRADBURY BROTHERS HE 436845559212062        MAGNOLIA          TX                          $596.00 t
            JASON@BRADBURYBROTHERS.CO
02/10/22    BEST BUY                                    SPRING            TX                        $1,134.43 t
            888BESTBUY
02/10/22    H-E-B GAS/CARWASH #725 000000000361988      SPRING            TX                           $72.54 t
            8009874438
02/10/22    HCTRA EZ TAG REBILL                         281-875-3279      TX                           $80.00 t
            281-875-3279
02/10/22    MCDONALD'S F39505 000000000677035           SPRING            TX                           $14.67 t
            2814634022



                                                                                      Continued on next page
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            Business Platinum Card                                                                              p. 7/9
            ALLIANCE ENERGY PART
            DUSTIN T ETTER
            Closing Date 02/21/22                                                             Account Ending 0-61006


  Detail Continued                                                                            t - denotes Pay Over Time activity
                                                                                                                    Amount
02/11/22      FREE LOGO DESIGN                               QUEBEC                                                   $69.99 t
              4186942033
02/11/22      VITALITY CLINICS                               SPRING                      TX                          $360.00 t
              +18325623390
02/11/22      H-E-B GAS/CARWASH #725 000000000361988         SPRING                      TX                           $69.81 t
              8009874438
02/11/22      CHICK-FIL-A #03902 000000000566382             SPRING                      TX                           $13.15 t
              2812510996
02/11/22      GOOGLE*DOMAINS GOOGLE PAYMENT                  G.CO HELPPAY#                                            $12.00 t
              DIGITAL GOODS: GAMES
02/11/22      VKCBT LP                                       SUGAR LAND                  TX                              $2.49 t
              FAST FOOD RESTAURANT
02/14/22      THE POST OAK SPA&SALON 1600                    HOUSTON                     TX                          $801.19 t
              21857323 77027
              COUPLES 2 - PURELY RELAXINg - 90min
              GRATUITY
              COUPLES 1 - PURELY RELAXINg - 90min
02/14/22      GOOGLE*DOMAINS GOOGLE PAYMENT                  G.CO HELPPAY#                                               $2.62 t
              DIGITAL GOODS: GAMES
02/15/22      MASTROS SH HOUSTON 1265                        HOUSTON                     TX                          $476.30 t
              110035 77027
              RESTAURANT
02/15/22      H-E-B GAS/CARWASH #725 000000000361988         SPRING                      TX                           $85.47 t
              8009874438
02/15/22      THE POST OAK HOTEL 263                         HOUSTON                     TX                        $1,341.55 t
              Arrival Date              Departure Date
              02/14/22                  02/15/22
              00000000
              LODGING
02/15/22      THE POST OAK HOTEL 263                         HOUSTON                     TX                          $112.58 t
              Arrival Date              Departure Date
              02/14/22                  02/15/22
              00000000
              LODGING
02/15/22      HCTRA EZ TAG REBILL                            281-875-3279                TX                           $80.00 t
              281-875-3279
02/18/22      UNITED AIRLINES                                HOUSTON                     TX                          $512.20 t
              UNITED AIRLINES
              From:                     To:                   Carrier:         Class:
              HOUSTON INTERCONTI        MIDLAND ODESSA REG    UA               00
                                        HOUSTON INTERCONTI    UA               00
              Ticket Number: 01623953485910                   Date of Departure: 02/20
              Passenger Name: FURR/JERODPARKER
              Document Type: PASSENGER TICKET
02/18/22      HCTRA EZ TAG REBILL                            281-875-3279                TX                           $80.00 t
              281-875-3279
02/20/22      Sunoco Gas                                     215-977-3000                TX                           $11.94 t
              00828647 79707
              General Tobaco
              General packaged beverage


  Fees

                                                                                                                    Amount

Total Fees for this Period                                                                                               $0.00




                                                                                                     Continued on reverse
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  DUSTIN T ETTER                                           Account Ending 0-61006                                          p. 8/9




 Interest Charged

                                                                                                                               Amount

Total Interest Charged for this Period                                                                                              $0.00

About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called
"trailing interest". Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that
happens, we charge interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest
on purchases by paying your balance in full and on time each month. Please see the "When we charge interest" sub- section in your
Cardmember Agreement for details.



 2022 Fees and Interest Totals Year-to-Date
                                                                                                                               Amount
 Total Fees in 2022                                                                                                              $0.00
 Total Interest in 2022                                                                                                             $0.00




 Interest Charge Calculation
 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                  Annual        Balance Subject                Interest
                                                                          Percentage Rate       to Interest Rate                Charge

 Pay Over Time option                                                             18.24% (v)              $0.00                     $0.00
Total                                                                                                                               $0.00
(v) Variable Rate



 Information on Pay Over Time

 There is a no pre-set spending limit on your Card
 No Preset Spending Limit means your spending limit is flexible. Unlike a traditional card with a set limit, the amount you can spend
 adjusts based on factors such as your purchase, payment, and credit history.

 Pay Over Time Limit
 There is a limit to your Pay Over Time feature balance. Your Pay Over Time Limit is $15,000.00. We may approve or decline a charge
 regardless of whether your Card account balance exceeds or does not exceed your Pay Over Time Limit. You must pay in full all
 charges that are not placed into a Pay Over Time balance by the Payment Due Date.

 Available Pay Over Time Limit
 Your Available Pay Over Time Limit is $5,784.37 and is accurate as of your statement date. This Limit is the remaining amount that you
 can add to your Pay Over Time balance. The Available Pay Over Time Limit amount is calculated by subtracting your Pay Over Time
 balance from your Pay Over Time Limit. If you have a preset spending limit on your account that is less than your Pay Over Time Limit,
 you may not be able to use some or all of your Available Pay Over Time Limit.

 Pay Over Time Setting: ON
 The setting indicated above is accurate as of your statement closing date. For the most up to date setting, please refer to your online
 account. If your setting is On, eligible charges will be placed in your Pay Over Time balance up to your Pay Over Time Limit. If your
 setting is Off, all charges will be added to your Pay In Full balance and no new charges will be included in your Pay Over Time balance.
 If you have an existing Pay Over Time balance, you can continue to pay this off over time with interest, as long as you pay your
 minimum due each month by your Payment Due Date.
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         ALLIANCE ENERGY PART                                                                             p. 9/9
         DUSTIN T ETTER                                   Closing Date 02/21/22               Account Ending 0-61006
            IMPORTANT NOTICES

EFT Error Resolution Notice
In Case of Errors or Questions About Your Electronic Transfers Telephone us at 1-800-IPAY-AXP for Pay By
Phone questions, at 1-800-528-2122 for Pay By Computer questions, and at 1-800-528-4800 for AutoPay and at
1-800-CASH NOW for Express Cash questions. You may also write us at American Express, Electronic Funds
Services, P.O. Box 981531, El Paso TX 79998-1531, or contact us online at www.americanexpress.com/
inquirycenter as soon as you can, if you think your statement or receipt is wrong or if you need more information
about a transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name and account number (if any).
    2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you
         believe it is an error or why you need more information.
    3. Tell us the dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to
do this, we will credit your account for the amount you think is in error, so that you will have the use of the money
during the time it takes us to complete our investigation.


Departures
Your Business Platinum Card® membership gives you access to the exclusive Departuresº world, which includes
original stories told from unexpected perspectives, found only on Departures.com.




                                      End of Important Notices.
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              Business Platinum Card                                                                                            p. 1/9
              ALLIANCE ENERGY PART
              DUSTIN T ETTER                                                                               Customer Care:   1-800-492-8468
              Closing Date 07/24/22  Next Closing Date 08/24/22                                            TTY:               Use Relay 711
              Account Ending 0-61006                                                                       Website:    americanexpress.com

                                                                                                Membership Rewards® Points
  New Balance                                                      $10,144.38                   Available and Pending as of 06/30/22
  Minimum Payment Due                                               $5,320.89                                                       78,924
                                                                                                For up to date point balance and full program
                                                                                                details, visit membershiprewards.com
  Payment Due Date                                                     08/18/22               Account Summary

  Late Payment Warning: If you do not pay the Minimum Payment Due by the                        Pay In Full Portion
  Payment Due Date of 08/18/22 , you may have to pay a late fee of $39.00 and                    Previous Balance                  $21,251.61
  your Pay Over Time APR may be increased to the Penalty APR of 29.99 %.                         Payments/Credits                 -$21,473.58
                                                                                                 New Charges                       +$5,493.86
                                                                                                 Fees                                  +$0.00
                                                                                                 New Balance          =             $5,271.89
                                                                                                Pay Over Time Portion
                                                                                                 Previous Balance                  $12,809.82
Minimum Payment Warning: If you make only the minimum payment each period,                       Payments/Credits                 -$12,809.82
you will pay more in interest and it will take you longer to pay off your Pay Over Time          New Charges                       +$4,872.49
balance. For example:                                                                            Fees                                  +$0.00
                                                                                                 Interest Charged                      +$0.00
If you make no additional        You will pay off the balance   And you will pay an              New Balance        =               $4,872.49
charges and each month you       shown on this statement in     estimated total of...            Minimum Due                           $49.00
pay...                           about...

        Only the                                                                                Account Total
                                           16 years                        $11,335
  Minimum Payment Due                                                                            Previous Balance                 $34,061.43
                                                                                                 Payments/Credits                 -$34,283.40
If you would like information about credit counseling services, call 1-888-733-4139.             New Charges                      +$10,366.35
                                                                                                 Fees                                  +$0.00
     See page 2 for important information about your account.                                    Interest Charged                      +$0.00

     Please refer to the IMPORTANT NOTICES section on                                            New Balance                       $10,144.38
     page 9.                                                                                     Minimum Payment Due                $5,320.89

     For information on your Pay Over Time feature and limit, see page 7                        Pay Over Time Limit                $15,000.00
                                                                                                Available Pay Over Time Limit      $10,127.51
                                                                       Continued on page 3      Days in Billing Period: 31




  Please fold on the perforation below, detach and return with your payment
 (                                                                             (
      Payment Coupon                            Pay by Computer                      Pay by Phone                 Account Ending 0-61006
      Do not staple or use paper clips          americanexpress.com/                 1-800-472-9297
                                                business                                              Enter 15 digit account # on all payments.
                                                                                                      Make check payable to American Express.


                    DUSTIN T ETTER                                                                                         Payment Due Date
                    ALLIANCE ENERGY PART                                                                                          08/18/22
                    20008 CHAMPN FRST DR
                    STE 1203                                                                                                    New Balance
                    SPRING TX 77379                                                                                             $10,144.38
                                                                                                                      Minimum Payment Due
                                                                                                                                 $5,320.89



       See reverse side for instructions                AMERICAN EXPRESS
                                                        P.O. BOX 650448
                                                                                                                      $                  .
                                                                                                                            Amount Enclosed
       on how to update your address,
       phone number, or email.                          DALLAS TX 75265-0448

                                                        *752650448487*
      0000349992914160486 001014438000532089 20 Á
               Case 25-30155 Document 80-32 Filed in TXSB on 05/14/25 Page 12 of 45
  DUSTIN T ETTER                                                   Account Ending 0-61006                                                      p. 2/9

Payments: Your payment must be sent to the payment address shown on                highest interbank rate we identify from customary banking sources on the
your statement and must be received by 5 p.m. local time at that address to        conversion date or the prior business day. This rate may differ from rates in
be credited as of the day it is received. Payments we receive after 5 p.m. will    effect on the date of your charge. Charges converted by establishments will
not be credited to your Account until the next day. Payments must also: (1)        be billed at the rates such establishments use.
include the remittance coupon from your statement; (2) be made with a              Credit Balance: A credit balance (designated CR) shown on this statement
single check drawn on a US bank and payable in US dollars, or with a               represents money owed to you. If within the six-month period following
negotiable instrument payable in US dollars and clearable through the US           the date of the first statement indicating the credit balance you do not
banking system; and (3) include your Account number. If your payment               request a refund or charge enough to use up the credit balance, we will
does not meet all of the above requirements, crediting may be delayed and          send you a check for the credit balance within 30 days if the amount is
you may incur late payment fees and additional interest charges. Electronic        $1.00 or more.
payments must be made through an electronic payment method payable                 Credit Reporting: We may report information about your Account to credit
in US dollars and clearable through the US banking system. Please do not           bureaus. Late payments, missed payments, or other defaults on your
send post-dated checks as they will be deposited upon receipt. Any                 Account may be reflected in your credit report.
restrictive language on a payment we accept will have no effect on us              Billing Dispute Procedures
without our express prior written approval. We will re-present to your             What To Do If You Think You Find A Mistake On Your Statement
financial institution any payment that is returned unpaid.                         If you think there is an error on your statement, write to us at:
Permission for Electronic Withdrawal: (1) When you send a check for                American Express, PO Box 981535, El Paso TX 79998-1535
payment, you give us permission to electronically withdraw your payment            In your letter, give us the following information:
from your deposit or other asset account. We will process checks                   - Account information: Your name and account number.
electronically by transmitting the amount of the check, routing number,            - Dollar amount: The dollar amount of the suspected error.
account number and check serial number to your financial institution,              - Description of Problem: Describe what you believe is wrong and why you
unless the check is not processable electronically or a less costly process is     believe it is a mistake.
available. When we process your check electronically, your payment may             You must contact us:
be withdrawn from your deposit or other asset account as soon as the same          - Within 60 days after the error appeared on your statement.
day we receive your check, and you will not receive that cancelled check           - At least 2 business days before an automated payment is scheduled, if you
with your financial account statement. If we cannot collect the funds              want to stop payment on the amount you think is wrong.
electronically we may issue a draft against your deposit or other asset            You must notify us of any potential errors in writing. You may call us, but if
account for the amount of the check. (2) By using Pay By Computer, Pay By          you do we may not follow these procedures and you may have to pay the
Phone or any other electronic payment service of ours, you give us                 amount in question.
permission to electronically withdraw funds from the deposit or other asset        What Will Happen After We Receive Your Letter
account you specify in the amount you request. Payments using such                 When we receive your letter, we will do two things:
services of ours received after 8:00 p.m. MST may not be credited until the        1. Within 30 days of receiving your letter, we will tell you that we received
next day.                                                                          your letter. We will also tell you if we have already corrected the error.
How We Calculate Your Balance: We use the Average Daily Balance (ADB)              2. We will investigate your inquiry and will either correct the error or
method (including new transactions) to calculate the balance on which we           explain to you why we believe the bill is correct.
charge interest for Pay Over Time balances on your Account. Call the               While we investigate whether or not there has been an error:
Customer Care number on page 3 for more information about this balance             - We will not try to collect the amount in question.
computation method and how resulting interest charges are determined.              - The charge in question may remain on your statement, and we may
The method we use to calculate the ADB and interest results in daily               continue to charge you interest on that amount.
compounding of interest.                                                           - While you do not have to pay the amount in question, you are responsible
How to Avoid Paying Interest: If you have a Pay Over Time balance, your            for the remainder of your balance.
due date is at least 25 days after the close of each billing period. We will not   - We can apply any unpaid amount against your credit limit.
charge interest on charges added to a Pay Over Time balance if you pay the         After we finish our investigation, one of two things will happen:
Account Total New Balance by the due date each month.                              - If we made a mistake: You will not have to pay the amount in question or
Foreign Currency Charges: If you make a Charge in a foreign currency, we           any interest or other fees related to that amount.
will convert it into US dollars on the date we or our agents process it. We        - If we do not believe there was a mistake: You will have to pay the amount
will choose a conversion rate that is acceptable to us for that date, unless a     in question, along with applicable interest and fees. We will send you a
particular rate is required by law. The conversion rate we use is no more          statement of the amount you owe and the date payment is due. We may
than the highest official rate published by a government agency or the             report you as delinquent if you do not pay the amount we think you owe.




                                                                                                                 Pay Your Bill with AutoPay
                                                                                                                 Deduct your payment from your bank
                                                                                                                 account automatically each month.

                                                                                                                   - Avoid late fees
                                                                                                                   - Save time
Change of Address, phone number, email
                                                                                                                 Visit americanexpress.com/autopay
   - Online at www.americanexpress.com/updatecontactinfo                                                         today to enroll.
   - Via mobile device
   - Voice automated: call the number on the back of your card
   - For name, company name, and foreign address or phone changes, please call Customer Care
Please do not add any written communication or address change on this stub                                     For information on how we protect your
                                                                                                               privacy and to set your communication
                                                                                                               and privacy choices, please visit
                                                                                                               www.americanexpress.com/privacy.
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             Business Platinum Card                                                                                       p. 3/9
             ALLIANCE ENERGY PART
             DUSTIN T ETTER
             Closing Date 07/24/22                                                                      Account Ending 0-61006

          Customer Care & Billing Inquiries                        1-800-492-8468
           International Collect                                   1-623-492-7719                  Website: americanexpress.com
           Express Cash                                            1-800-CASH-NOW
           Large Print & Braille Statements                        1-800-492-8468            Customer Care
                                                                                             & Billing Inquiries     Payments
                                                                                             P.O. BOX 981535         P.O. BOX 650448
                                                                                             EL PASO, TX             DALLAS TX 75265-
                                                                                             79998-1535              0448
          Hearing Impaired
          Online chat at americanexpress.com or use Relay dial 711 and 1-800-492-8468




 Payments and Credits
 Summary

                                                                       Pay In Full       Pay Over Time t                           Total
Payments                                                              -$21,251.61              -$12,809.82                 -$34,061.43
Credits
   DUSTIN T ETTER 0-61006                                               -$221.97                    $0.00                   -$221.97
Total Payments and Credits                                           -$21,473.58              -$12,809.82                -$34,283.40


 Detail        *Indicates posting date

Payments                                                                                                                      Amount
07/15/22*      DUSTIN T ETTER                   ONLINE PAYMENT - THANK YOU                                                 -$34,061.43
Credits                                                                                                                       Amount
07/20/22*      DUSTIN T ETTER                   AMAZON SHOP WITH POINTS CREDIT                                                -$221.97


 New Charges
 Summary
                                                                       Pay In Full       Pay Over Time t                           Total
DUSTIN T ETTER 0-61006                                                  $3,256.15                $2,669.14                   $5,925.29
JEROD P FURR 0-61014                                                    $2,237.71                $2,203.35                  $4,441.06
Total New Charges                                                      $5,493.86                $4,872.49                 $10,366.35


 Detail                                                                                                 t - denotes Pay Over Time activity
          DUSTIN T ETTER
          Card Ending 0-61006
                                                                                                                              Amount
06/24/22       CENEX RED RIVER FARM COOP                          GAINESVILLE           TX                                     $100.00 t
               AUTO FUEL DISPENSER
06/24/22       CENEX RED RIVER FARM COOP                          GAINESVILLE           TX                                     $100.00 t
               AUTO FUEL DISPENSER
06/28/22       AplPay UBER EATS                                   SAN FRANCISCO         CA                                      $22.71 t
               8005928996

                                                                                                               Continued on reverse
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 DUSTIN T ETTER                                 Account Ending 0-61006                          p. 4/9


 Detail Continued                                                             t - denotes Pay Over Time activity
                                                                                                    Amount
06/28/22   CONROE WELDING SUPPLY CONROE WELDING        CONROE            TX                        $1,191.63
           INDUSTRIAL SUPPLY
06/28/22   NORTHERN TOOL & EQUIPMENT CO                CONROE            TX                          $677.07 t
           0000000000000000077304
06/29/22   AplPay UBER EATS                            SAN FRANCISCO     CA                           $32.11 t
           8005928996
06/29/22   CONROE WELDING SUPPLY CONROE WELDING        CONROE            TX                        $1,229.78
           INDUSTRIAL SUPPLY
06/29/22   AMBIT TEXAS, LLC                            877-282-6248      TX                           $98.91 t
           UTL-EL/GS/WT
06/29/22   OFFICEMAX/DEPOT 6820 000006820              MAGNOLIA          TX                          $537.28 t
           8004633768
06/29/22   EXXONMOBIL 4744                             CONROE            TX                          $174.53 t
           936-447-1471
06/29/22   EXXONMOBIL 4744                             CONROE            TX                              $5.40 t
           00329591 77304
           400
06/30/22   AplPay UBER EATS                            SAN FRANCISCO     CA                           $89.82 t
           8005928996
07/02/22   DIRECTV STREAM                              DALLAS            TX                          $162.36
           SVOD
07/05/22   ERA CORNER STORE 000000000021926            ERA               TX                           $40.66 t
           9999999999
07/05/22   ERA CORNER STORE 000000000021926            ERA               TX                              $4.68 t
           9999999999
07/06/22   STARBUCKS STORE 2919                        GAINESVILLE       TX                              $5.14 t
           FAST FOOD RESTAURANT
07/10/22   LAKE KIOWA TRADING POST 09510264            LAKE KIOWA        TX                           $85.17
           LAKE KIOWA TRADING POST
07/10/22   AT&T *PAYMENT                               800-288-2020      FL                           $71.16
           AT&T UVERSE
07/11/22   HEB ONLINE #108 0000                        855-803-0611      TX                          $100.18
           855-803-0611
07/11/22   AplPay DOORDASH*HOPDODDY BURG               SAN FRANCISCO     CA                           $36.06 t
           +16506819470
07/11/22   ERA CORNER STORE 000000000021926            ERA               TX                           $97.50
           9999999999
07/12/22   AplPay DOORDASH*SUMO SUSHI &                SAN FRANCISCO     CA                           $61.52
           +16506819470
07/12/22   AplPay DOORDASH*SAPPORO RAMEN               SAN FRANCISCO     CA                           $43.78
           +16506819470
07/13/22   CENEX RED RIVER FARM COOP                   GAINESVILLE       TX                           $66.60
           AUTO FUEL DISPENSER
07/13/22   IRON HORSE TRAVEL CENTER 000000098          MERKEL            TX                          $100.00
           3253130005
07/13/22   GARELY'S MEXICAN RESTAURANT                 MIDLAND           TX                           $46.47
           4326867393
07/15/22   THE LAZY HEART GRILL                        SAINT JO          TX                              $6.50 t
           940-995-2967
07/15/22   THE LAZY HEART GRILL                        SAINT JO          TX                           $42.00 t
           940-995-2967
07/18/22   SUNOCO ENERGY SERVICES                      GAINESVILLE       TX                          $143.93 t
           940-668-8518
07/18/22   SUNOCO ENERGY SERVICES                      GAINESVILLE       TX                           $21.85 t
           940-668-8518
07/18/22   HUNTERS TUNNEL EXPRESS 041399800869510      GAINESVILLE       TX                           $18.00 t
           9406653519

                                                                                     Continued on next page
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           Business Platinum Card                                                                             p. 5/9
           ALLIANCE ENERGY PART
           DUSTIN T ETTER
           Closing Date 07/24/22                                                            Account Ending 0-61006


 Detail Continued                                                                           t - denotes Pay Over Time activity
                                                                                                                  Amount
07/19/22    AplPay UBER EATS                               SAN FRANCISCO               CA                           $36.62 t
            8005928996
07/19/22    AplPay UBER EATS                               SAN FRANCISCO               CA                          $101.11 t
            8005928996
07/19/22    AMAZON.COM                                     SEATTLE                     WA                          $221.97 t
            GENERAL MERCHANDISE
07/20/22    AplPay UBER EATS                               SAN FRANCISCO               CA                           $52.79 t
            8005928996
07/21/22    NEIL'S VALERO 000000000640490                  MUENSTER                    TX                          $100.00 t
            9407592923
       JEROD P FURR
       Card Ending 0-61014
                                                                                                                  Amount
06/24/22    SHERWIN WILLIAMS 707501 7501                   MAGNOLIA                    TX                          $127.58 t
            281-356-7107
06/25/22    SONIC DRIVE IN OF HONEA                        MAGNOLIA                    TX                           $23.56 t
            9362714757
06/27/22    INTUIT *PAYROLLEE USAGE                        800-446-8848                CA                              $8.66 t
            CL.INTUIT.COM
06/27/22    HCTRA EZ TAG REBILL                            281-875-3279                TX                           $80.00 t
            281-875-3279
06/29/22    ECOSHIELD PEST SOLUTIONS 4368455582590         HOUSTON                     TX                          $568.31
            INFO@THESHIELDCO.COM
06/29/22    ENVERUS 092490014387188                        888-477-7667                TX                          $222.79
            271859 000000
07/01/22    UNITED AIRLINES                                HOUSTON                     TX                          $467.60
            UNITED AIRLINES
            From:                     To:                   Carrier:         Class:
            HOUSTON INTERCONTI        OKLAHOMA CITY WILL    UA               00
            Ticket Number: 01624215838372                   Date of Departure: 07/05
            Passenger Name: HICKS/JOSLYN
            Document Type: PASSENGER TICKET
07/01/22    UNITED AIRLINES                                HOUSTON                     TX                          $467.60
            UNITED AIRLINES
            From:                     To:                   Carrier:         Class:
            HOUSTON INTERCONTI        OKLAHOMA CITY WILL    UA               00
            Ticket Number: 01624215838383                   Date of Departure: 07/05
            Passenger Name: HICKS/TAYLORDAVID
            Document Type: PASSENGER TICKET
07/03/22    15528 FM 2854 RD 57546413600                   MONTGOMERY                  TX                          $128.60
            9365882636
07/08/22    UBER EATS                                      SAN FRANCISCO               CA                           $19.63 t
            8005928996
07/08/22    UBER EATS                                      SAN FRANCISCO               CA                              $4.00 t
            8005928996
07/08/22    HCTRA EZ TAG REBILL                            281-875-3279                TX                           $80.00
            281-875-3279
07/10/22    ESCALANTE'S WOODLAND                           THE WOODLANDS               TX                           $96.40
            RESTAURANT
07/10/22    15528 FM 2854 RD 57546413600                   MONTGOMERY                  TX                           $44.56
            9365882636
07/12/22    CITIZENS GRILL 650000011183251                 CONROE                      TX                           $56.55
            9363200022
07/14/22    HCTRA EZ TAG REBILL                            281-875-3279                TX                           $80.00
            281-875-3279


                                                                                                   Continued on reverse
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  DUSTIN T ETTER                                         Account Ending 0-61006                                                p. 6/9


  Detail Continued                                                                                           t - denotes Pay Over Time activity
                                                                                                                                   Amount
07/15/22      UBER EATS                                           SAN FRANCISCO               CA                                     $25.30
              KFZVNYPS 94103
07/15/22      CUTTEN MOWERS Y MAS LLC 000000001                   MAGNOLIA                    TX                                  $1,074.09 t
              2812524545
07/15/22      GOOGLE*DOMAINS GOOGLE PAYMENT                        G.CO HELPPAY#                                                     $90.17 t
              COMPUTER PROGRAMMING
07/16/22      TMOBILE*AUTO PAY                                    800-937-8997                WA                                    $200.00 t
              981209502 98006
07/16/22      15528 FM 2854 RD 57546413600                        MONTGOMERY                  TX                                    $124.93 t
              9365882636
07/17/22      SONIC DRIVE IN #3255 000000000493116                MONTGOMERY                  TX                                     $22.58 t
              9365882100
07/18/22      HCTRA EZ TAG REBILL                                 281-875-3279                TX                                     $80.00 t
              281-875-3279
07/19/22      TMOBILE*AUTO PAY                                    800-937-8997                WA                                     $50.00 t
              981203869 98006
07/19/22      TMOBILE*AUTO PAY                                    800-937-8997                WA                                     $50.00 t
              981204081 98006
07/19/22      TAILGATORS PUB AND GRILL 00-0803354903              MAGNOLIA                    TX                                     $41.61 t
              BAR/NIGHTCLUB
07/21/22      KUNTRY KATFISH                                      CONROE                      TX                                     $56.00 t
              USFC1MAGD77304
07/22/22      UBER EATS                                           SAN FRANCISCO               CA                                        $7.00 t
              8005928996
07/22/22      UBER EATS                                           SAN FRANCISCO               CA                                     $32.74 t
              8005928996
07/22/22      HCTRA EZ TAG REBILL                                 281-875-3279                TX                                     $80.00 t
              281-875-3279
07/24/22      KOLACHE FACTORY - #101 0000                         MAGNOLIA                    TX                                     $30.80 t
              FAST FOOD RESTAURANT


  Fees

                                                                                                                                   Amount

Total Fees for this Period                                                                                                              $0.00



  Interest Charged

                                                                                                                                   Amount

Total Interest Charged for this Period                                                                                                  $0.00

About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called
"trailing interest". Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that
happens, we charge interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest
on purchases by paying your balance in full and on time each month. Please see the "When we charge interest" sub- section in your
Cardmember Agreement for details.




                                                                                                                    Continued on next page
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              Business Platinum Card                                                                                       p. 7/9
              ALLIANCE ENERGY PART
              DUSTIN T ETTER
              Closing Date 07/24/22                                                                         Account Ending 0-61006




 2022 Fees and Interest Totals Year-to-Date
                                                                                                                              Amount
 Total Fees in 2022                                                                                                             $0.00
 Total Interest in 2022                                                                                                             $0.00




 Interest Charge Calculation
 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                  Annual       Balance Subject                 Interest
                                                                          Percentage Rate      to Interest Rate                 Charge

Pay Over Time option                                                              19.74% (v)              $0.00                     $0.00

Promotional Pay Over Time                                                             3.99%               $0.00                     $0.00
Rate Expires 12/23/2022 then will go to 19.74% (v)
Total                                                                                                                               $0.00
(v) Variable Rate



 Information on Pay Over Time

 There is a no pre-set spending limit on your Card
 No Preset Spending Limit means your spending limit is flexible. Unlike a traditional card with a set limit, the amount you can spend
 adjusts based on factors such as your purchase, payment, and credit history.

 Pay Over Time Limit
 There is a limit to your Pay Over Time feature balance. Your Pay Over Time Limit is $15,000.00. We may approve or decline a charge
 regardless of whether your Card account balance exceeds or does not exceed your Pay Over Time Limit. You must pay in full all
 charges that are not placed into a Pay Over Time balance by the Payment Due Date.

 Available Pay Over Time Limit
 Your Available Pay Over Time Limit is $10,127.51 and is accurate as of your statement date. This Limit is the remaining amount that you
 can add to your Pay Over Time balance. The Available Pay Over Time Limit amount is calculated by subtracting your Pay Over Time
 balance from your Pay Over Time Limit. If you have a preset spending limit on your account that is less than your Pay Over Time Limit,
 you may not be able to use some or all of your Available Pay Over Time Limit.

 Pay Over Time Setting: ON
 The setting indicated above is accurate as of your statement closing date. For the most up to date setting, please refer to your online
 account. If your setting is On, eligible charges will be placed in your Pay Over Time balance up to your Pay Over Time Limit. If your
 setting is Off, all charges will be added to your Pay In Full balance and no new charges will be included in your Pay Over Time balance.
 If you have an existing Pay Over Time balance, you can continue to pay this off over time with interest, as long as you pay your
 minimum due each month by your Payment Due Date.
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DUSTIN T ETTER                   Account Ending 0-61006                   p. 8/9
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         ALLIANCE ENERGY PART                                                                             p. 9/9
         DUSTIN T ETTER                                   Closing Date 07/24/22               Account Ending 0-61006
            IMPORTANT NOTICES

EFT Error Resolution Notice
In Case of Errors or Questions About Your Electronic Transfers Telephone us at 1-800-IPAY-AXP for Pay By
Phone questions, at 1-800-528-2122 for Pay By Computer questions, and at 1-800-528-4800 for AutoPay and at
1-800-CASH NOW for Express Cash questions. You may also write us at American Express, Electronic Funds
Services, P.O. Box 981531, El Paso TX 79998-1531, or contact us online at www.americanexpress.com/
inquirycenter as soon as you can, if you think your statement or receipt is wrong or if you need more information
about a transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name and account number (if any).
    2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you
         believe it is an error or why you need more information.
    3. Tell us the dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to
do this, we will credit your account for the amount you think is in error, so that you will have the use of the money
during the time it takes us to complete our investigation.


Your Cardmember Agreement
To access the most up to date version of your Cardmember Agreement, please log in to your Account at
www.americanexpress.com.

Delta Sky Club® Access Policy Update
Effective June 1, 2022, the Delta Sky Club access policy is changing. Platinum Card Member(s) must present a
boarding pass that shows a reservation for a same-day Delta-marketed or Delta-operated flight departing from or
arriving at the airport in which the Delta Sky Club is located. Eligible Card Members on departing flights can only
access the Delta Sky Club within 3 hours of their flight's scheduled departure time. Card Members with a
connecting flight may access Delta Sky Clubs at any time during their layover. All Delta Sky Club rules apply. To
review the Delta Sky Club access policy and rules, please visit delta.com/us/en/delta-sky-club/access.
Additional restrictions may apply. For the Delta Sky Club access requirements as part of the Global Lounge
Collection benefit, please visit thecenturionlounge.com.

Departures
Your Business Platinum Card® membership gives you access to the exclusive Departuresº world, which includes
original stories told from unexpected perspectives, found only on Departures.com.




                                      End of Important Notices.
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              Business Platinum Card                                                                                           p. 1/10
              ALLIANCE ENERGY PART
              DUSTIN T ETTER                                                                              Customer Care:   1-800-492-8468
              Closing Date 05/24/23  Next Closing Date 06/23/23                                           TTY:               Use Relay 711
              Account Ending 0-61006                                                                      Website:    americanexpress.com

                                                                                               Membership Rewards® Points
  New Balance                                                      $16,466.53                  Available and Pending as of 04/30/23
  Minimum Payment Due                                               $4,289.59                                                      17,630
                                                                                               For up to date point balance and full program
                                                                                               details, visit membershiprewards.com
  Payment Due Date                                                     06/18/23              Account Summary

  Late Payment Warning: If you do not pay the Minimum Payment Due by the                       Pay In Full Portion
  Payment Due Date of 06/18/23 , you may have to pay a late fee of $39.00 and                   Previous Balance                   $2,431.92
  your Pay Over Time APR may be increased to the Penalty APR of 29.99 %.                        Payments/Credits                  -$2,431.92
                                                                                                New Charges                      +$4,166.59
                                                                                                Fees                                  +$0.00
                                                                                                New Balance          =             $4,166.59
                                                                                               Pay Over Time Portion
                                                                                                Previous Balance                  $10,918.05
Minimum Payment Warning: If you make only the minimum payment each period,                      Payments/Credits                 -$10,918.05
you will pay more in interest and it will take you longer to pay off your Pay Over Time         New Charges                     +$12,299.94
balance. For example:                                                                           Fees                                  +$0.00
                                                                                                Interest Charged                      +$0.00
If you make no additional        You will pay off the balance   And you will pay an             New Balance        =              $12,299.94
charges and each month you       shown on this statement in     estimated total of...           Minimum Due                         $123.00
pay...                           about...

        Only the                                                                               Account Total
                                           24 years                       $35,234
  Minimum Payment Due                                                                           Previous Balance                 $13,349.97
                                                                                                Payments/Credits                 -$13,349.97
If you would like information about credit counseling services, call 1-888-733-4139.            New Charges                      +$16,466.53
                                                                                                Fees                                  +$0.00
     See page 2 for important information about your account.                                   Interest Charged                      +$0.00

     Please refer to the IMPORTANT NOTICES section on                                           New Balance                       $16,466.53
     page 9.                                                                                    Minimum Payment Due                $4,289.59

     For information on your Pay Over Time feature and limit, see page 8                       Pay Over Time Limit                $15,000.00
                                                                                               Available Pay Over Time Limit       $2,700.06
                                                                                               Days in Billing Period: 31




  Please fold on the perforation below, detach and return with your payment
 (                                                                             (
      Payment Coupon                            Pay by Computer                     Pay by Phone                 Account Ending 0-61006
      Do not staple or use paper clips          americanexpress.com/                1-800-472-9297
                                                business                                             Enter 15 digit account # on all payments.
                                                                                                     Make check payable to American Express.


                    DUSTIN T ETTER                                                                                        Payment Due Date
                    ALLIANCE ENERGY PART                                                                                         06/18/23
                    20008 CHAMPN FRST DR
                    STE 1203                                                                                                   New Balance
                    SPRING TX 77379                                                                                            $16,466.53
                                                                                                                     Minimum Payment Due
                                                                                                                                $4,289.59



       See reverse side for instructions                AMERICAN EXPRESS
                                                        PO BOX 6031
                                                                                                                     $                   .
                                                                                                                           Amount Enclosed
       on how to update your address,
       phone number, or email.                          CAROL STREAM IL 60197-6031

                                                        *601976031313*
      0000349992914160486 001646653000428959 20 Á
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  DUSTIN T ETTER                                                   Account Ending 0-61006                                                      p. 2/10

Payments: Your payment must be sent to the payment address shown on                highest interbank rate we identify from customary banking sources on the
your statement and must be received by 5 p.m. local time at that address to        conversion date or the prior business day. This rate may differ from rates in
be credited as of the day it is received. Payments we receive after 5 p.m. will    effect on the date of your charge. Charges converted by establishments will
not be credited to your Account until the next day. Payments must also: (1)        be billed at the rates such establishments use.
include the remittance coupon from your statement; (2) be made with a              Credit Balance: A credit balance (designated CR) shown on this statement
single check drawn on a US bank and payable in US dollars, or with a               represents money owed to you. If within the six-month period following
negotiable instrument payable in US dollars and clearable through the US           the date of the first statement indicating the credit balance you do not
banking system; and (3) include your Account number. If your payment               request a refund or charge enough to use up the credit balance, we will
does not meet all of the above requirements, crediting may be delayed and          send you a check for the credit balance within 30 days if the amount is
you may incur late payment fees and additional interest charges. Electronic        $1.00 or more.
payments must be made through an electronic payment method payable                 Credit Reporting: We may report information about your Account to credit
in US dollars and clearable through the US banking system. Please do not           bureaus. Late payments, missed payments, or other defaults on your
send post-dated checks as they will be deposited upon receipt. Any                 Account may be reflected in your credit report.
restrictive language on a payment we accept will have no effect on us              Billing Dispute Procedures
without our express prior written approval. We will re-present to your             What To Do If You Think You Find A Mistake On Your Statement
financial institution any payment that is returned unpaid.                         If you think there is an error on your statement, write to us at:
Permission for Electronic Withdrawal: (1) When you send a check for                American Express, PO Box 981535, El Paso TX 79998-1535
payment, you give us permission to electronically withdraw your payment            In your letter, give us the following information:
from your deposit or other asset account. We will process checks                   - Account information: Your name and account number.
electronically by transmitting the amount of the check, routing number,            - Dollar amount: The dollar amount of the suspected error.
account number and check serial number to your financial institution,              - Description of Problem: Describe what you believe is wrong and why you
unless the check is not processable electronically or a less costly process is     believe it is a mistake.
available. When we process your check electronically, your payment may             You must contact us:
be withdrawn from your deposit or other asset account as soon as the same          - Within 60 days after the error appeared on your statement.
day we receive your check, and you will not receive that cancelled check           - At least 2 business days before an automated payment is scheduled, if you
with your financial account statement. If we cannot collect the funds              want to stop payment on the amount you think is wrong.
electronically we may issue a draft against your deposit or other asset            You must notify us of any potential errors in writing. You may call us, but if
account for the amount of the check. (2) By using Pay By Computer, Pay By          you do we may not follow these procedures and you may have to pay the
Phone or any other electronic payment service of ours, you give us                 amount in question.
permission to electronically withdraw funds from the deposit or other asset        What Will Happen After We Receive Your Letter
account you specify in the amount you request. Payments using such                 When we receive your letter, we will do two things:
services of ours received after 8:00 p.m. MST may not be credited until the        1. Within 30 days of receiving your letter, we will tell you that we received
next day.                                                                          your letter. We will also tell you if we have already corrected the error.
How We Calculate Your Balance: We use the Average Daily Balance (ADB)              2. We will investigate your inquiry and will either correct the error or
method (including new transactions) to calculate the balance on which we           explain to you why we believe the bill is correct.
charge interest for Pay Over Time balances on your Account. Call the               While we investigate whether or not there has been an error:
Customer Care number on page 3 for more information about this balance             - We will not try to collect the amount in question.
computation method and how resulting interest charges are determined.              - The charge in question may remain on your statement, and we may
The method we use to calculate the ADB and interest results in daily               continue to charge you interest on that amount.
compounding of interest.                                                           - While you do not have to pay the amount in question, you are responsible
How to Avoid Paying Interest: If you have a Pay Over Time balance, your            for the remainder of your balance.
due date is at least 25 days after the close of each billing period. We will not   - We can apply any unpaid amount against your credit limit.
charge interest on charges added to a Pay Over Time balance if you pay the         After we finish our investigation, one of two things will happen:
Account Total New Balance by the due date each month.                              - If we made a mistake: You will not have to pay the amount in question or
Foreign Currency Charges: If you make a Charge in a foreign currency, we           any interest or other fees related to that amount.
will convert it into US dollars on the date we or our agents process it. We        - If we do not believe there was a mistake: You will have to pay the amount
will choose a conversion rate that is acceptable to us for that date, unless a     in question, along with applicable interest and fees. We will send you a
particular rate is required by law. The conversion rate we use is no more          statement of the amount you owe and the date payment is due. We may
than the highest official rate published by a government agency or the             report you as delinquent if you do not pay the amount we think you owe.




                                                                                                                 Pay Your Bill with AutoPay
                                                                                                                 Deduct your payment from your bank
                                                                                                                 account automatically each month.

                                                                                                                   - Avoid late fees
                                                                                                                   - Save time
Change of Address, phone number, email
                                                                                                                 Visit americanexpress.com/autopay
   - Online at www.americanexpress.com/updatecontactinfo                                                         today to enroll.
   - Via mobile device
   - Voice automated: call the number on the back of your card
   - For name, company name, and foreign address or phone changes, please call Customer Care
Please do not add any written communication or address change on this stub                                     For information on how we protect your
                                                                                                               privacy and to set your communication
                                                                                                               and privacy choices, please visit
                                                                                                               www.americanexpress.com/privacy.
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             Business Platinum Card                                                                                       p. 3/10
             ALLIANCE ENERGY PART
             DUSTIN T ETTER
             Closing Date 05/24/23                                                                      Account Ending 0-61006

          Customer Care & Billing Inquiries                        1-800-492-8468
           International Collect                                   1-623-492-7719                  Website: americanexpress.com
           Express Cash                                            1-800-CASH-NOW
           Large Print & Braille Statements                        1-800-492-8468            Customer Care           Payments
                                                                                             & Billing Inquiries     PO BOX 6031
                                                                                             P.O. BOX 981535         CAROL STREAM IL
                                                                                             EL PASO, TX             60197-6031
                                                                                             79998-1535
          Hearing Impaired
          Online chat at americanexpress.com or use Relay dial 711 and 1-800-492-8468




 Payments and Credits
 Summary

                                                                       Pay In Full       Pay Over Time t                          Total
Payments                                                               -$2,431.92              -$10,918.05                -$13,349.97
Credits                                                                     $0.00                    $0.00                        $0.00
Total Payments and Credits                                             -$2,431.92             -$10,918.05                -$13,349.97


 Detail        *Indicates posting date

Payments                                                                                                                      Amount
05/05/23*      DUSTIN T ETTER                   ONLINE PAYMENT - THANK YOU                                                -$13,349.97


 New Charges
 Summary
                                                                       Pay In Full       Pay Over Time t                          Total
DUSTIN T ETTER 0-61006                                                    $946.40                $3,764.15                   $4,710.55
JEROD P FURR 0-61014                                                    $3,220.19                $5,249.60                   $8,469.79
JEANA HURLEY 0-63028                                                       $0.00                 $3,286.19                  $3,286.19
Total New Charges                                                      $4,166.59               $12,299.94                 $16,466.53


 Detail                                                                                                 t - denotes Pay Over Time activity
          DUSTIN T ETTER
          Card Ending 0-61006
                                                                                                                              Amount
04/22/23       THE CORNERSTONE CAFE                               GAINESVILLE           TX                                      $46.36 t
               940-736-5998
04/24/23       FFS GAINESVILLE CARDLOCK                           GAINESVILLE           TX                                      $35.39 t
               956-722-5251
04/25/23       SONIC DRIVE-IN                                     MUENSTER              TX                                        $7.29 t
               9407592429
04/25/23       STARBUCKS                                          800-782-7282          WA                                      $30.00 t
               8007827282
04/25/23       319 HWY 82 WEST 57521834903                        LINDSAY               TX                                      $65.95 t
               9406122032
04/25/23       319 HWY 82 WEST 57521834903                        LINDSAY               TX                                        $5.72 t
               9406122032
04/27/23       AplPay TRULATA                                     WASHINGTON            DC                                      $25.00 t
               +14055518399
04/27/23       STARBUCKS                                          800-782-7282          WA                                      $30.00 t
               8007827282
04/27/23       HEB ONLINE #108 0000                               855-803-0611          TX                                      $82.56 t
               855-803-0611

                                                                                                               Continued on reverse
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 DUSTIN T ETTER                                 Account Ending 0-61006                          p. 4/10


 Detail Continued                                                             t - denotes Pay Over Time activity
                                                                                                    Amount
04/28/23   AplPay BT*DD *DOORDASH PISOCIAL             SAN FRANCISCO     CA                           $54.10 t
           8559731040
04/28/23   AplPay BT*DD *DOORDASH NOODLEHOU            SAN FRANCISCO     CA                           $27.16 t
           8559731040
04/28/23   AplPay BT*DD *DOORDASH KUNGFUTEA            SAN FRANCISCO     CA                           $19.19 t
           8559731040
04/29/23   CHEVRON 0371975/CHEVRON                     MIDLAND           TX                           $92.34 t
           SERVICE STN
04/29/23   CHEVRON 0371975/CHEVRON                     MIDLAND           TX                           $14.05 t
           SERVICE STN
04/29/23   AplPay BT*DD *DOORDASH RAYSITALI            SAN FRANCISCO     CA                           $51.50 t
           8559731040
04/29/23   STARBUCKS                                   800-782-7282      WA                           $30.00 t
           8007827282
04/30/23   AMBIT TEXAS, LLC                            DALLAS            TX                          $127.73
           UTL-EL/GS/WT
05/01/23   AplPay BT*DD *DOORDASH WINGSTOP             SAN FRANCISCO     CA                          $117.07
           8559731040
05/01/23   HUNTERS TUNNEL EXPRESS 041399800869510      GAINESVILLE       TX                           $16.00
           9406653519
05/02/23   DIRECTV STREAM                              DALLAS            TX                          $167.78
           SVOD
05/03/23   MICROSOFT*MICROSOFT 365 F                   MSBILL.INFO                                   $108.24
           Z521U7DQXPZ4 98052
05/03/23   STARBUCKS                                   800-782-7282      WA                           $30.00
           8007827282
05/03/23   ADOBE ACROPRO SUBS Adobe Systems            SAN JOSE          CA                           $51.94
           8004438158
05/04/23   AplPay BT*DD *DOORDASH VILLAGRAN            SAN FRANCISCO     CA                          $168.09
           8559731040
05/04/23   STARBUCKS                                   800-782-7282      WA                           $30.00
           8007827282
05/04/23   FFS GAINESVILLE CARDLOCK                    GAINESVILLE       TX                          $129.55
           956-722-5251
05/06/23   STARBUCKS                                   800-782-7282      WA                           $30.00 t
           8007827282
05/07/23   STARBUCKS                                   800-782-7282      WA                           $30.00 t
           8007827282
05/07/23   CENEX RED RIVER FARM COOP                   GAINESVILLE       TX                           $64.14 t
           AUTO FUEL DISPENSER
05/07/23   CENEX RED RIVER FARM COOP                   GAINESVILLE       TX                           $52.56 t
           AUTO FUEL DISPENSER
05/07/23   CENEX RED RIVER FARM COOP                   GAINESVILLE       TX                             $6.63 t
           AUTO FUEL DISPENSER
05/08/23   AT&T *PAYMENT                               800-288-2020      FL                           $71.16 t
           AT&T UVERSE
05/08/23   ADOBE CREATIVE CLOUD Adobe Systems          SAN JOSE          CA                           $59.53 t
           ADOBE.LY/ENUS
05/08/23   HEB ONLINE #108 0000                        855-803-0611      TX                           $88.50 t
           855-803-0611
05/08/23   TKILAZ MEXICAN RESTAURANT 545500001700      MIDLAND           TX                           $80.00 t
           FRAGOK13@HOTMAIL.COM
05/09/23   AplPay BT*DD *DOORDASH HOPDODDYB            SAN FRANCISCO     CA                           $23.37 t
           8559731040
05/09/23   AplPay BT*DD *DOORDASH PRESOTEA-            SAN FRANCISCO     CA                           $10.17 t
           8559731040


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           ALLIANCE ENERGY PART
           DUSTIN T ETTER
           Closing Date 05/24/23                                          Account Ending 0-61006


 Detail Continued                                                         t - denotes Pay Over Time activity
                                                                                                Amount
05/10/23    CHEVRON 0371975/CHEVRON                  MIDLAND         TX                           $99.17 t
            SERVICE STN
05/10/23    AplPay BT*DD *DOORDASH PISOCIAL          SAN FRANCISCO   CA                           $32.20 t
            8559731040
05/10/23    AplPay BT*DD *DOORDASH KUNGFUTEA         SAN FRANCISCO   CA                           $12.19 t
            8559731040
05/10/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
05/10/23    DOLLAR GENERAL #22930 000022930          FORESTBURG      TX                             $2.39 t
            8006789258
05/10/23    KING & I 0000                            MIDLAND         TX                          $112.67 t
            432-682-0988
05/11/23    AplPay SWEET JAYNE'S BAKESHOP 0000       GAINESVILLE     TX                           $37.47 t
            940-902-8038
05/12/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
05/12/23    PGA TOUR SUPERSTORE                      SOUTHLAKE       TX                          $517.44 t
            817-722-5190
05/13/23    CENEX RED RIVER FARM COOP                GAINESVILLE     TX                           $57.65 t
            AUTO FUEL DISPENSER
05/13/23    CENEX RED RIVER FARM COOP                GAINESVILLE     TX                           $99.77 t
            AUTO FUEL DISPENSER
05/13/23    CENEX RED RIVER FARM COOP                GAINESVILLE     TX                           $77.54 t
            AUTO FUEL DISPENSER
05/13/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
05/13/23    SWEET JAYNE'S BAKESHOP 0000              GAINESVILLE     TX                           $26.74 t
            940-902-8038
05/13/23    Paymentwall                              SEOUL                                        $10.99 t
            GENERAL MERCHANDISE
05/15/23    AplPay DOORDASH*MARBLE SLAB C            SAN FRANCISCO   CA                           $33.06 t
            +16506819470
05/15/23    HEB ONLINE #108 0000                     855-803-0611    TX                           $59.05 t
            855-803-0611
05/16/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
05/16/23    IRON HORSE TRAVEL CENTER 000000098       MERKEL          TX                          $100.00 t
            3253130005
05/16/23    EXXONMOBIL 4823                          MONTAGUE        TX                           $16.19 t
            00580319 76251
            400
            480
05/17/23    SIRIUS XM RADIO INC.                     888-635-5144    NY                           $48.58 t
            RADIO SERVICE
05/17/23    AplPay SWEET JAYNE'S BAKESHOP 0000       GAINESVILLE     TX                           $23.71 t
            940-902-8038
05/17/23    AT&T MOBILITY RECURRING                  800-288-2020    TX                          $322.25 t
            800-331-0500
05/17/23    ROCK CREEK - GOLF SHOP ROCK CREEK - GO   GORDONVILLE     TX                          $134.61 t
            SPORTING GOODS STORE
05/17/23    ROCK CREEK - RESTAURAN ROCK CREEK - RE   GORDONVILLE     TX                           $25.00 t
            RESTAURANT
05/19/23    SONIC DRIVE-IN                           MUENSTER        TX                             $7.37 t
            9407592429



                                                                                 Continued on reverse
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  DUSTIN T ETTER                                   Account Ending 0-61006                                     p. 6/10


 Detail Continued                                                                           t - denotes Pay Over Time activity
                                                                                                                  Amount
05/20/23    SWEET JAYNE'S BAKESHOP 0000                    GAINESVILLE                 TX                           $19.60 t
            940-902-8038
05/20/23    STARBUCKS                                      800-782-7282                WA                           $30.00 t
            8007827282
05/20/23    CENEX RED RIVER FARM COOP                      GAINESVILLE                 TX                           $99.13 t
            AUTO FUEL DISPENSER
05/20/23    CENEX RED RIVER FARM COOP                      GAINESVILLE                 TX                           $76.56 t
            AUTO FUEL DISPENSER
05/21/23    STARBUCKS                                      800-782-7282                WA                           $30.00 t
            8007827282
05/21/23    CENEX RED RIVER FARM COOP                      GAINESVILLE                 TX                           $94.23 t
            AUTO FUEL DISPENSER
05/23/23    CHEVRON 0371975/CHEVRON                        MIDLAND                     TX                          $153.65 t
            SERVICE STN
05/23/23    AplPay BT*DD *DOORDASH PRESOTEA-               SAN FRANCISCO               CA                           $10.17 t
            8559731040
05/23/23    AplPay BT*DD *DOORDASH JERSEYMIK               SAN FRANCISCO               CA                           $33.72 t
            8559731040
05/23/23    STARBUCKS                                      800-782-7282                WA                           $30.00 t
            8007827282
05/23/23    O'REILLY AUTO PARTS                            BRECKENRIDGE                TX                           $72.99 t
            800-755-6759
05/23/23    SUNSET GAS & GRILL 000000000625663             SUNSET                      TX                             $5.39 t
            9408454771
       JEROD P FURR
       Card Ending 0-61014
                                                                                                                  Amount
04/21/23    HOTEL DEREK 650000012409564                    HOUSTON                     TX                        $2,862.50 t
            Arrival Date              Departure Date
            04/21/23                  04/23/23
            00000000
            LODGING
04/23/23    STARBUCKS STORE 0624                           HOUSTON                     TX                           $22.68 t
            FAST FOOD RESTAURANT
04/26/23    SUBWAY                                         HOUSTON                     TX                           $18.27 t
            FAST FOOD RESTAURANT
04/27/23    INTUIT *PAYROLLEE USAGE                        800-446-8848                CA                           $43.30 t
            CL.INTUIT.COM
04/28/23    EXXONMOBIL 4790                                MAGNOLIA                    TX                          $102.32
            936-273-0301
04/29/23    ENVERUS                                        800-282-4245                TX                        $1,111.32
            SOFTWARE
05/01/23    ECOSHIELD PEST SOLUTIONS 4368455582590         HOUSTON                     TX                          $568.31
            INFO@THESHIELDCO.COM
05/02/23    ON STREET                                      HOUSTON                     TX                             $3.50 t
            PARKING LOT & GARAGE
05/03/23    TST* MAGNOLIA DINER- MONT 00069107             MONTGOMERY                  TX                           $48.49
            RESTAURANT
05/03/23    15528 FM 2854 RD 57546413600                   MONTGOMERY                  TX                           $74.58
            9365882636
05/05/23    UNITED AIRLINES                                HOUSTON                     TX                        $1,315.17
            UNITED AIRLINES
            From:                     To:                   Carrier:         Class:
            HOUSTON INTERCONTI        CALGARY               UA               00
                                      HOUSTON INTERCONTI    UA               00
            Ticket Number: 01624845318062                   Date of Departure: 05/24
            Passenger Name: FURR/CORRINALUISE
            Document Type: PASSENGER TICKET

                                                                                                   Continued on next page
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           ALLIANCE ENERGY PART
           DUSTIN T ETTER
           Closing Date 05/24/23                                           Account Ending 0-61006


 Detail Continued                                                          t - denotes Pay Over Time activity
                                                                                                 Amount
05/09/23    JERSEY MIKES 15128 0000                   MAGNOLIA        TX                           $37.77 t
            281-789-7446
05/10/23    BUC-EE'S #17/UNBRANDED                    LULING          TX                           $23.29 t
            GROCERY STOR
05/11/23    QT 4058 OUTSIDE/QUIKTRIP 554204058        SAN ANTONIO     TX                           $78.85 t
            FUEL OUTSIDE
05/11/23    ELMENDORF HOTEL                           ELMENDORF       TX                          $103.91 t
            Arrival Date             Departure Date
            05/10/23                 05/11/23
            00000000
            LODGING
05/11/23    ELMENDORF HOTEL                           ELMENDORF       TX                          $103.91 t
            Arrival Date             Departure Date
            05/10/23                 05/11/23
            00000000
            LODGING
05/11/23    CHIPOTLE 3680 0000                        MAGNOLIA        TX                           $21.81 t
            303-595-4000
05/12/23    HCTRA EZ TAG REBILL                       281-875-3279    TX                           $80.00 t
            281-875-3279
05/16/23    TMOBILE*AUTO PAY                          800-937-8997    WA                          $200.00 t
            981209502 98006
05/16/23    SUBWAY                                    MAGNOLIA        TX                           $33.67 t
            FAST FOOD RESTAURANT
05/16/23    GRAND LIQUOR                              MONTGOMERY      TX                           $90.84 t
            936-588-8987
05/18/23    MCDONALD'S F32281 000000000976681         TOMBALL         TX                           $40.06 t
            2812552434
05/19/23    TMOBILE*AUTO PAY                          800-937-8997    WA                           $50.00 t
            981203869 98006
05/19/23    TMOBILE*AUTO PAY                          800-937-8997    WA                           $50.00 t
            981204081 98006
05/19/23    PERRYS STEAK HOUSE & G 0000               SPRING          TX                        $1,136.18 t
            RESTAURANT
05/19/23    EXXONMOBIL 4790                           MAGNOLIA        TX                           $21.87 t
            01176093 77354
            420
            480
            410
05/20/23    AUGUSTA PINES GOLF CLUB                   SPRING          TX                          $198.97 t
            2812901900
05/22/23    SUBWAY                                    MAGNOLIA        TX                           $28.22 t
            FAST FOOD RESTAURANT
       JEANA HURLEY
       Card Ending 0-63028
                                                                                                 Amount
04/29/23    AGP*BTPROPANE                             610-337-7000    PA                          $503.48 t
            UTILITIES
05/09/23    FGT*ACL AMEX WKND 1                       AUSTIN          TX                        $1,020.00 t
            8885127469
05/12/23    COMCAST HOUSTON CS 1X                     (800)266-2278   TX                          $688.97 t
            CABLE SVCS
05/17/23    ASMC LLC 0602                             LIBERTYVILLE    IL                        $1,045.70 t
            888-660-0334
05/23/23    H-E-B #725 000000000361983                SPRING          TX                           $28.04 t
            8009874438

                                                                                  Continued on reverse
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  DUSTIN T ETTER                                            Account Ending 0-61006                                          p. 8/10




  Fees

                                                                                                                               Amount
Total Fees for this Period                                                                                                        $0.00



  Interest Charged

                                                                                                                               Amount

Total Interest Charged for this Period                                                                                            $0.00

About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called
"trailing interest". Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that
happens, we charge interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest
on purchases by paying your balance in full and on time each month. Please see the "When we charge interest" sub- section in your
Cardmember Agreement for details.



  2023 Fees and Interest Totals Year-to-Date
                                                                                                                               Amount
  Total Fees in 2023                                                                                                             $0.00
  Total Interest in 2023                                                                                                           $0.00




  Interest Charge Calculation
  Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                   Annual       Balance Subject                 Interest
                                                                           Percentage Rate      to Interest Rate                 Charge

 Pay Over Time option                                                              23.24% (v)              $0.00                   $0.00
 Total                                                                                                                            $0.00
 (v) Variable Rate



  Information on Pay Over Time

  There is a no pre-set spending limit on your Card
  No Preset Spending Limit means your spending limit is flexible. Unlike a traditional card with a set limit, the amount you can spend
  adjusts based on factors such as your purchase, payment, and credit history.

  Pay Over Time Limit
  There is a limit to your Pay Over Time feature balance. Your Pay Over Time Limit is $15,000.00. We may approve or decline a charge
  regardless of whether your Card account balance exceeds or does not exceed your Pay Over Time Limit. You must pay in full all
  charges that are not placed into a Pay Over Time balance by the Payment Due Date.

  Available Pay Over Time Limit
  Your Available Pay Over Time Limit is $2,700.06 and is accurate as of your statement date. This Limit is the remaining amount that you
  can add to your Pay Over Time balance. The Available Pay Over Time Limit amount is calculated by subtracting your Pay Over Time
  balance from your Pay Over Time Limit. If you have a preset spending limit on your account that is less than your Pay Over Time Limit,
  you may not be able to use some or all of your Available Pay Over Time Limit.

  Pay Over Time Setting: ON
  The setting indicated above is accurate as of your statement closing date. For the most up to date setting, please refer to your online
  account. If your setting is On, eligible charges will be placed in your Pay Over Time balance up to your Pay Over Time Limit. If your
  setting is Off, all charges will be added to your Pay In Full balance and no new charges will be included in your Pay Over Time balance.
  If you have an existing Pay Over Time balance, you can continue to pay this off over time with interest, as long as you pay your
  minimum due each month by your Payment Due Date.
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         ALLIANCE ENERGY PART                                                                             p. 9/10
         DUSTIN T ETTER                                   Closing Date 05/24/23               Account Ending 0-61006
            IMPORTANT NOTICES

EFT Error Resolution Notice
In Case of Errors or Questions About Your Electronic Transfers Telephone us at 1-800-IPAY-AXP for Pay By
Phone questions, at 1-800-528-2122 for Pay By Computer questions, and at 1-800-528-4800 for AutoPay and at
1-800-CASH NOW for Express Cash questions. You may also write us at American Express, Electronic Funds
Services, P.O. Box 981531, El Paso TX 79998-1531, or contact us online at www.americanexpress.com/
inquirycenter as soon as you can, if you think your statement or receipt is wrong or if you need more information
about a transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name and account number (if any).
    2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you
         believe it is an error or why you need more information.
    3. Tell us the dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to
do this, we will credit your account for the amount you think is in error, so that you will have the use of the money
during the time it takes us to complete our investigation.


Update to $189 CLEAR® Credit
We want to inform you that the statement credit benefit, formerly known as $189 CLEAR® Credit, will now be
known as $189 CLEAR® Plus Credit. The benefit itself remains unchanged.
As a reminder, with this benefit, Business Platinum Card® Members can earn up to $189 in statement credits per
calendar year after they use their Business Platinum Card® to pay for the annual CLEAR® Plus membership
(subject to auto-renewal). Purchases by both the Basic Card Member and any Additional Card Members on the
Card Account are eligible for statement credits. However, the total amount of statement credits for eligible
purchases will not exceed $189 on the Card Account per calendar year. Additional terms apply, please see
americanexpress.com/businessplatinum




                                      End of Important Notices.
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DUSTIN T ETTER                    Account Ending 0-61006                    p. 10/10
 Case 25-30155 Document 80-32 Filed in TXSB on 05/14/25 Page 30 of 45
Business Platinum Card
ALLIANCE ENERGY PART
DUSTIN T ETTER
Closing Date 05/24/23                                       Account Ending 0-61006
          Case 25-30155 Document 80-32 Filed in TXSB on 05/14/25 Page 31 of 45
 DUSTIN T ETTER                               Account Ending 0-61006




American Express® Cards Warmly Welcomed
LIVECHAT                              RACKSOLUTIONS                       MUD PIE
LiveChat is a complete customer       Helping solve some of IT's tough    Home - Kids - Women. Shop gifts &
service platform that delights your   mounting challenges, small IT to    décor that add style & inspiration to
customers & can help fuel your        some of the largest data centers.   special moments & everyday
sales. Turn website traffic into      Ready-made and custom solutions.    celebrations. Because every day is a
growing revenue. Visit us at          Visit racksolutions.com/small       gift.
livechat.com.                                                             mudpie.com
                                                                          678-397-0170
             Case 25-30155 Document 80-32 Filed in TXSB on 05/14/25 Page 32 of 45
              Business Platinum Card                                                                                            p. 1/12
              ALLIANCE ENERGY PART
              DUSTIN T ETTER                                                                               Customer Care:   1-800-492-8468
              Closing Date 08/24/23  Next Closing Date 09/22/23                                            TTY:               Use Relay 711
              Account Ending 0-61006                                                                       Website:    americanexpress.com

                                                                                                Membership Rewards® Points
  New Balance                                                      $46,445.74                   Available and Pending as of 07/31/23
  Minimum Payment Due                                              $31,681.83                                                          4,898
                                                                                                For up to date point balance and full program
                                                                                                details, visit membershiprewards.com
  Payment Due Date                                                     09/18/23               Account Summary

  Late Payment Warning: If you do not pay the Minimum Payment Due by the                        Pay In Full Portion
  Payment Due Date of 09/18/23 , you may have to pay a late fee of $39.00 and                    Previous Balance                  $5,556.56
  your Pay Over Time APR may be increased to the Penalty APR of 29.99 %.                         Payments/Credits                 -$5,695.78
                                                                                                 New Charges                     +$31,672.05
                                                                                                 Fees                                 +$0.00
                                                                                                 New Balance          =           $31,532.83
                                                                                                Pay Over Time Portion
                                                                                                 Previous Balance                  $7,605.23
Minimum Payment Warning: If you make only the minimum payment each period,                       Payments/Credits                 -$7,811.91
you will pay more in interest and it will take you longer to pay off your Pay Over Time          New Charges                     +$15,119.59
balance. For example:                                                                            Fees                                 +$0.00
                                                                                                 Interest Charged                     +$0.00
If you make no additional        You will pay off the balance   And you will pay an              New Balance        =             $14,912.91
charges and each month you       shown on this statement in     estimated total of...            Minimum Due                        $149.00
pay...                           about...

        Only the                                                                                Account Total
                                           26 years                        $43,373
  Minimum Payment Due                                                                            Previous Balance                 $13,161.79
                                                                                                 Payments/Credits                 -$13,507.69
If you would like information about credit counseling services, call 1-888-733-4139.             New Charges                      +$46,791.64
                                                                                                 Fees                                  +$0.00
     See page 2 for important information about your account.                                    Interest Charged                      +$0.00

     Please refer to the IMPORTANT NOTICES section on                                            New Balance                       $46,445.74
     page 11.                                                                                    Minimum Payment Due               $31,681.83

     For information on your Pay Over Time feature and limit, see page 10                       Pay Over Time Limit                $15,000.00
                                                                                                Available Pay Over Time Limit          $87.09
                                                                       Continued on page 3      Days in Billing Period: 31




  Please fold on the perforation below, detach and return with your payment
 (                                                                             (
      Payment Coupon                            Pay by Computer                      Pay by Phone                 Account Ending 0-61006
      Do not staple or use paper clips          americanexpress.com/                 1-800-472-9297
                                                business                                              Enter 15 digit account # on all payments.
                                                                                                      Make check payable to American Express.


                    DUSTIN T ETTER                                                                                         Payment Due Date
                    ALLIANCE ENERGY PART                                                                                          09/18/23
                    20008 CHAMPN FRST DR
                    STE 1203                                                                                                    New Balance
                    SPRING TX 77379                                                                                             $46,445.74
                                                                                                                      Minimum Payment Due
                                                                                                                                $31,681.83



       See reverse side for instructions                AMERICAN EXPRESS
                                                        PO BOX 6031
                                                                                                                      $                   .
                                                                                                                            Amount Enclosed
       on how to update your address,
       phone number, or email.                          CAROL STREAM IL 60197-6031

                                                        *601976031313*
      0000349992914160486 004644574003168183 20 Á
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  DUSTIN T ETTER                                                   Account Ending 0-61006                                                      p. 2/12

Payments: Your payment must be sent to the payment address shown on                highest interbank rate we identify from customary banking sources on the
your statement and must be received by 5 p.m. local time at that address to        conversion date or the prior business day. This rate may differ from rates in
be credited as of the day it is received. Payments we receive after 5 p.m. will    effect on the date of your charge. Charges converted by establishments will
not be credited to your Account until the next day. Payments must also: (1)        be billed at the rates such establishments use.
include the remittance coupon from your statement; (2) be made with a              Credit Balance: A credit balance (designated CR) shown on this statement
single check drawn on a US bank and payable in US dollars, or with a               represents money owed to you. If within the six-month period following
negotiable instrument payable in US dollars and clearable through the US           the date of the first statement indicating the credit balance you do not
banking system; and (3) include your Account number. If your payment               request a refund or charge enough to use up the credit balance, we will
does not meet all of the above requirements, crediting may be delayed and          send you a check for the credit balance within 30 days if the amount is
you may incur late payment fees and additional interest charges. Electronic        $1.00 or more.
payments must be made through an electronic payment method payable                 Credit Reporting: We may report information about your Account to credit
in US dollars and clearable through the US banking system. Please do not           bureaus. Late payments, missed payments, or other defaults on your
send post-dated checks as they will be deposited upon receipt. Any                 Account may be reflected in your credit report.
restrictive language on a payment we accept will have no effect on us              Billing Dispute Procedures
without our express prior written approval. We will re-present to your             What To Do If You Think You Find A Mistake On Your Statement
financial institution any payment that is returned unpaid.                         If you think there is an error on your statement, write to us at:
Permission for Electronic Withdrawal: (1) When you send a check for                American Express, PO Box 981535, El Paso TX 79998-1535
payment, you give us permission to electronically withdraw your payment            In your letter, give us the following information:
from your deposit or other asset account. We will process checks                   - Account information: Your name and account number.
electronically by transmitting the amount of the check, routing number,            - Dollar amount: The dollar amount of the suspected error.
account number and check serial number to your financial institution,              - Description of Problem: Describe what you believe is wrong and why you
unless the check is not processable electronically or a less costly process is     believe it is a mistake.
available. When we process your check electronically, your payment may             You must contact us:
be withdrawn from your deposit or other asset account as soon as the same          - Within 60 days after the error appeared on your statement.
day we receive your check, and you will not receive that cancelled check           - At least 2 business days before an automated payment is scheduled, if you
with your financial account statement. If we cannot collect the funds              want to stop payment on the amount you think is wrong.
electronically we may issue a draft against your deposit or other asset            You must notify us of any potential errors in writing. You may call us, but if
account for the amount of the check. (2) By using Pay By Computer, Pay By          you do we may not follow these procedures and you may have to pay the
Phone or any other electronic payment service of ours, you give us                 amount in question.
permission to electronically withdraw funds from the deposit or other asset        What Will Happen After We Receive Your Letter
account you specify in the amount you request. Payments using such                 When we receive your letter, we will do two things:
services of ours received after 8:00 p.m. MST may not be credited until the        1. Within 30 days of receiving your letter, we will tell you that we received
next day.                                                                          your letter. We will also tell you if we have already corrected the error.
How We Calculate Your Balance: We use the Average Daily Balance (ADB)              2. We will investigate your inquiry and will either correct the error or
method (including new transactions) to calculate the balance on which we           explain to you why we believe the bill is correct.
charge interest for Pay Over Time balances on your Account. Call the               While we investigate whether or not there has been an error:
Customer Care number on page 3 for more information about this balance             - We will not try to collect the amount in question.
computation method and how resulting interest charges are determined.              - The charge in question may remain on your statement, and we may
The method we use to calculate the ADB and interest results in daily               continue to charge you interest on that amount.
compounding of interest.                                                           - While you do not have to pay the amount in question, you are responsible
How to Avoid Paying Interest: If you have a Pay Over Time balance, your            for the remainder of your balance.
due date is at least 25 days after the close of each billing period. We will not   - We can apply any unpaid amount against your credit limit.
charge interest on charges added to a Pay Over Time balance if you pay the         After we finish our investigation, one of two things will happen:
Account Total New Balance by the due date each month.                              - If we made a mistake: You will not have to pay the amount in question or
Foreign Currency Charges: If you make a Charge in a foreign currency, we           any interest or other fees related to that amount.
will convert it into US dollars on the date we or our agents process it. We        - If we do not believe there was a mistake: You will have to pay the amount
will choose a conversion rate that is acceptable to us for that date, unless a     in question, along with applicable interest and fees. We will send you a
particular rate is required by law. The conversion rate we use is no more          statement of the amount you owe and the date payment is due. We may
than the highest official rate published by a government agency or the             report you as delinquent if you do not pay the amount we think you owe.




                                                                                                                 Pay Your Bill with AutoPay
                                                                                                                 Deduct your payment from your bank
                                                                                                                 account automatically each month.

                                                                                                                   - Avoid late fees
                                                                                                                   - Save time
Change of Address, phone number, email
                                                                                                                 Visit americanexpress.com/autopay
   - Online at www.americanexpress.com/updatecontactinfo                                                         today to enroll.
   - Via mobile device
   - Voice automated: call the number on the back of your card
   - For name, company name, and foreign address or phone changes, please call Customer Care
Please do not add any written communication or address change on this stub                                     For information on how we protect your
                                                                                                               privacy and to set your communication
                                                                                                               and privacy choices, please visit
                                                                                                               www.americanexpress.com/privacy.
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             Business Platinum Card                                                                                   p. 3/12
             ALLIANCE ENERGY PART
             DUSTIN T ETTER
             Closing Date 08/24/23                                                                  Account Ending 0-61006

          Customer Care & Billing Inquiries                        1-800-492-8468
           International Collect                                   1-623-492-7719              Website: americanexpress.com
           Express Cash                                            1-800-CASH-NOW
           Large Print & Braille Statements                        1-800-492-8468        Customer Care           Payments
                                                                                         & Billing Inquiries     PO BOX 6031
                                                                                         P.O. BOX 981535         CAROL STREAM IL
                                                                                         EL PASO, TX             60197-6031
                                                                                         79998-1535
          Hearing Impaired
          Online chat at americanexpress.com or use Relay dial 711 and 1-800-492-8468




 Payments and Credits
 Summary

                                                                       Pay In Full      Pay Over Time t                       Total
Payments                                                               -$5,556.56           -$7,605.23                -$13,161.79
Credits
   DUSTIN T ETTER 0-61006                                                -$139.22            -$206.68                   -$345.90
Total Payments and Credits                                             -$5,695.78          -$7,811.91                -$13,507.69


 Detail        *Indicates posting date                                                              t - denotes Pay Over Time activity
Payments                                                                                                                  Amount
07/26/23*      DUSTIN T ETTER                   ONLINE PAYMENT - THANK YOU                                            -$13,161.79
Credits                                                                                                                   Amount
07/31/23*      DUSTIN T ETTER                   AMAZON SHOP WITH POINTS CREDIT                                            -$139.22
08/07/23       DUSTIN T ETTER                   FLOWER SHOP NETWORK                                                       -$154.04 t
                                                PARAGOULD        AR
                                                17001322 72450
08/24/23       DUSTIN T ETTER                   AplPay UBER EATS                                                            -$52.64 t
                                                help.uber.com   CA
                                                8005928996


 New Charges
 Summary
                                                                       Pay In Full      Pay Over Time t                       Total
DUSTIN T ETTER 0-61006                                                    $246.91            $8,390.04                   $8,636.95
JEROD P FURR 0-61014                                                   $31,425.14            $4,023.74                 $35,448.88
JEANA HURLEY 0-63028                                                       $0.00             $2,705.81                  $2,705.81
Total New Charges                                                     $31,672.05           $15,119.59                 $46,791.64




                                                                                                           Continued on reverse
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 DUSTIN T ETTER                                   Account Ending 0-61006                          p. 4/12


 Detail                                                                         t - denotes Pay Over Time activity
       DUSTIN T ETTER
       Card Ending 0-61006
                                                                                                      Amount
07/23/23    HEB ONLINE #108 0000                         855-803-0611      TX                          $163.92 t
            855-803-0611
07/24/23    STARBUCKS                                    800-782-7282      WA                           $30.00 t
            8007827282
07/24/23    IRON HORSE TRAVEL CENTER 000000098           MERKEL            TX                          $100.00 t
            3253130005
07/24/23    IRON HORSE TRAVEL CENTER 000000098           MERKEL            TX                           $23.80 t
            3253130005
07/24/23    MUNICIPAL GOLF COURS                         MIDLAND           TX                             $5.00 t
            4326857360
07/24/23    MUNICIPAL GOLF COURS                         MIDLAND           TX                           $22.87 t
            4326857360
07/24/23    O MULLIGANS 19TH HOLE LTD 000000001          MIDLAND           TX                             $4.20 t
            4326872441
07/24/23    MUNICIPAL GOLF COURS                         MIDLAND           TX                           $94.22 t
            4326857360
07/25/23    AplPay BT*DD *DOORDASH SUMOSUSHI             SAN FRANCISCO     CA                           $55.17 t
            8559731040
07/26/23    AplPay BT*DD *DOORDASH PRESOTEA-             SAN FRANCISCO     CA                           $10.17 t
            8559731040
07/26/23    AplPay BT*DD *DOORDASH NOODLEHOU             SAN FRANCISCO     CA                           $47.27 t
            8559731040
07/26/23    TST* THE HUMAN BEAN - MID 300551197          MIDLAND           TX                             $6.50 t
            5416012347
07/26/23    STARBUCKS                                    800-782-7282      WA                           $25.00 t
            8007827282
07/26/23    STARBUCKS                                    800-782-7282      WA                           $30.00 t
            8007827282
07/27/23    AplPay TRULATA                               WASHINGTON        DC                           $25.00 t
            +14055518399
07/27/23    STARBUCKS                                    800-782-7282      WA                           $30.00 t
            8007827282
07/28/23    STARBUCKS                                    800-782-7282      WA                           $30.00 t
            8007827282
07/28/23    PATRIOT PRODCTS LLC 0000                     SANGER            TX                             $2.50 t
            888-561-4748
07/28/23    GULF OIL                                     800-774-4853      MA                           $96.32 t
            9406121121
07/28/23    GULF OIL                                     800-774-4853      MA                           $49.27 t
            9406121121
07/28/23    PATRIOT PRODCTS LLC 0000                     SANGER            TX                             $2.50 t
            888-561-4748
07/29/23    CENEX RED RIVER FARM COOP                    GAINESVILLE       TX                           $65.47 t
            AUTO FUEL DISPENSER
07/29/23    CENEX RED RIVER FARM COOP                    GAINESVILLE       TX                           $83.28 t
            AUTO FUEL DISPENSER
07/29/23    SWEET JAYNE'S BAKESHOP 0000                  GAINESVILLE       TX                           $28.33 t
            940-902-8038
07/29/23    319 HWY 82 WEST 57521834903                  LINDSAY           TX                          $102.55 t
            9406122032
07/29/23    PATRIOT PRODCTS LLC 0000                     SANGER            TX                             $2.50 t
            888-561-4748
07/30/23    AMAZON MARKETPLACE PAYMENTS                  AMZN.COM/BILL     WA                          $139.22 t
            AMZN.COM/BILL


                                                                                       Continued on next page
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           Business Platinum Card                                                           p. 5/12
           ALLIANCE ENERGY PART
           DUSTIN T ETTER
           Closing Date 08/24/23                                          Account Ending 0-61006


 Detail Continued                                                         t - denotes Pay Over Time activity
                                                                                                Amount
07/30/23    STARBUCKS                                800-782-7282    WA                           $25.00 t
            8007827282
07/30/23    AMBIT TEXAS, LLC                         DALLAS          TX                          $158.74 t
            UTL-EL/GS/WT
07/30/23    FFS GAINESVILLE CARDLOCK                 GAINESVILLE     TX                           $91.00 t
            956-722-5251
07/30/23    ATWOOD 56 GAINESVILLE 0000               GAINESVILLE     TX                          $247.01 t
            940-668-0983
07/31/23    AMAZON MARKETPLACE NA PA                 AMZN.COM/BILL   WA                           $81.11 t
            BOOK STORES
07/31/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
07/31/23    FFS GAINESVILLE CARDLOCK                 GAINESVILLE     TX                           $17.64 t
            956-722-5251
08/01/23    AplPay BT*DD *DOORDASH SUMOSUSHI         SAN FRANCISCO   CA                           $62.02 t
            8559731040
08/01/23    AplPay BT*DD *DOORDASH PRESOTEA-         SAN FRANCISCO   CA                           $10.17 t
            8559731040
08/01/23    GARELY'S MEXICAN RESTAURANT              MIDLAND         TX                           $39.74 t
            4326867393
08/02/23    JUJI'S KITCHEN, LLC                      Midland         TX                           $36.00 t
            squareup.com/receipts
08/02/23    AplPay BT*DD *DOORDASH NOODLEHOU         SAN FRANCISCO   CA                           $38.40 t
            8559731040
08/02/23    AplPay BT*DD *DOORDASH PRESOTEA-         SAN FRANCISCO   CA                             $9.85 t
            8559731040
08/02/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/02/23    DIRECTV STREAM                           DALLAS          TX                          $167.78 t
            SVOD
08/02/23    IRON HORSE TRAVEL CENTER 000000098       MERKEL          TX                          $100.00 t
            3253130005
08/02/23    FORESTBURG STORE 00-08023965018          FORESTBURG      TX                             $4.20 t
            MISC FOOD STORE
08/03/23    FLOWER SHOP NETWORK                      PARAGOULD       AR                          $154.04 t
            17001322 72450
08/03/23    ST. ANN'S FAMILY FAIR                    Midland         TX                          $100.00 t
            squareup.com/receipts
08/03/23    HUNTERS TUNNEL EXPRESS 041399800869510   GAINESVILLE     TX                           $18.00 t
            9406653519
08/03/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/03/23    ADOBE ACROPRO SUBS Adobe Systems         SAN JOSE        CA                           $51.94 t
            8004438158
08/03/23    D MAX CINEMA 000000001                   GAINESVILLE     TX                           $18.25 t
            9406659999
08/04/23    AplPay BT*DD *DOORDASH FUKUJAPAN         SAN FRANCISCO   CA                          $173.47 t
            8559731040
08/04/23    DONALD ROSS SPORTWEAR WEB 565500000542   CLARENCE CTR    NY                          $372.83 t
            ROB@DONALDROSS.COM
08/04/23    STARBUCKS                                800-782-7282    WA                           $25.00 t
            8007827282
08/05/23    HUNTERS TUNNEL EXPRESS 041399800869510   GAINESVILLE     TX                           $18.00 t
            9406653519


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  DUSTIN T ETTER                                Account Ending 0-61006                          p. 6/12


 Detail Continued                                                             t - denotes Pay Over Time activity
                                                                                                    Amount
08/05/23   STARBUCKS                                   800-782-7282      WA                           $25.00 t
           8007827282
08/05/23   CENEX RED RIVER FARM COOP                   GAINESVILLE       TX                           $73.72 t
           AUTO FUEL DISPENSER
08/05/23   PEGASUS BAR OMNI DCCH PEGASUS BAR OMN       DALLAS            TX                           $90.00 t
           214-744-6664
08/05/23   BOBS STK & CHOP LAMAR                       DALLAS            TX                          $620.00 t
           214-744-6664
08/05/23   SWEET JAYNE'S BAKESHOP 0000                 GAINESVILLE       TX                           $17.80 t
           940-902-8038
08/05/23   2AMERAIR CENTR 1488044004                   DALLAS            TX                           $71.82 t
           9948821691292238175219
           food and beverage
08/06/23   Uber Trip                                   help.uber.com     CA                           $23.85 t
           DJBQQ2W6 75202
08/06/23   W DALLAS VICTORY FB W DALLAS VICTOR         DALLAS            TX                          $350.00 t
           214-397-4100
08/07/23   CHEVRON 0358937/CHEVRON                     SANTO             TX                          $138.10 t
           SERVICE STN
08/07/23   CHEVRON 0358937/CHEVRON                     SANTO             TX                           $14.24 t
           SERVICE STN
08/07/23   TACO CABANA                                 SEGUIN            TX                           $13.60 t
           800-580-8668
08/07/23   STARBUCKS                                   800-782-7282      WA                           $30.00 t
           8007827282
08/07/23   TACO CASA #045 000000001                    SANTO             TX                           $11.21 t
           8179919362
08/07/23   CASEY'S TIRE AND BRAKE 739293975301826      GAINESVILLE       TX                           $15.45 t
           CASEYTIREANDBRAKE@YAHOO.C
08/08/23   AplPay UBER EATS                            help.uber.com     CA                           $24.10 t
           8005928996
08/08/23   AT&T *PAYMENT                               800-288-2020      FL                           $76.18 t
           AT&T UVERSE
08/08/23   AplPay UBER EATS                            help.uber.com     CA                           $13.81 t
           8005928996
08/08/23   ADOBE CREATIVE CLOUD Adobe Systems          SAN JOSE          CA                           $59.53 t
           ADOBE.LY/ENUS
08/09/23   AplPay BT*DD *DOORDASH SAPPOROJA            SAN FRANCISCO     CA                           $88.75 t
           8559731040
08/09/23   AplPay BT*DD *DOORDASH COLDSTONE            SAN FRANCISCO     CA                           $25.78 t
           8559731040
08/09/23   ANGUS VALERO 000000000476499                CORSICANA         TX                           $48.96 t
           9999999999
08/10/23   STARBUCKS                                   800-782-7282      WA                           $30.00 t
           8007827282
08/10/23   HUNTER'S OIL DEPOT 0000                     GAINESVILLE       TX                          $195.98 t
           940-665-6924
08/10/23   NEIL'S VALERO 000000000640490               MUENSTER          TX                          $100.00 t
           9407592923
08/11/23   CENEX RED RIVER FARM COOP                   GAINESVILLE       TX                           $99.21 t
           AUTO FUEL DISPENSER
08/11/23   CENEX RED RIVER FARM COOP                   GAINESVILLE       TX                           $69.12 t
           AUTO FUEL DISPENSER
08/11/23   STARBUCKS                                   800-782-7282      WA                           $30.00 t
           8007827282
08/12/23   VITA 10 IV THERAPY GAINESVILLE              Gainesville       TX                          $350.00 t
           squareup.com/receipts

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           ALLIANCE ENERGY PART
           DUSTIN T ETTER
           Closing Date 08/24/23                                          Account Ending 0-61006


 Detail Continued                                                         t - denotes Pay Over Time activity
                                                                                                Amount
08/12/23    CENEX RED RIVER FARM COOP                GAINESVILLE     TX                           $66.97 t
            AUTO FUEL DISPENSER
08/12/23    CENEX RED RIVER FARM COOP                GAINESVILLE     TX                           $75.81 t
            AUTO FUEL DISPENSER
08/12/23    SWEET JAYNE'S BAKESHOP 0000              GAINESVILLE     TX                           $27.96 t
            940-902-8038
08/13/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/13/23    STARBUCKS                                800-782-7282    WA                           $25.00 t
            8007827282
08/13/23    Paymentwall                              SEOUL                                        $10.99 t
            GENERAL MERCHANDISE
08/14/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/15/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/15/23    HEB ONLINE #108 0000                     855-803-0611    TX                          $112.95 t
            855-803-0611
08/15/23    SZECHUAN HOUSE 0001                      MIDLAND         TX                           $78.17 t
            432-247-1636
08/16/23    CAVENDERS BOOT #48 0000                  MIDLAND         TX                          $226.27 t
            432-689-9378
08/17/23    SIRIUS XM RADIO INC.                     888-635-5144    NY                           $48.58 t
            RADIO SERVICE
08/17/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/17/23    IRON HORSE TRAVEL CENTER 000000098       MERKEL          TX                          $100.00 t
            3253130005
08/17/23    AT&T MOBILITY RECURRING                  800-288-2020    TX                          $346.06 t
            800-331-0500
08/17/23    ALLSUPS 102430 000000000840420           JACKSBORO       TX                           $31.81 t
            9999999999
08/18/23    EL TAPATIO 403903142701271               GAINESVILLE     TX                           $65.00 t
            SINALOA1203@ICLOUD.COM
08/18/23    AplPay SWEET JAYNE'S BAKESHOP 0000       GAINESVILLE     TX                           $55.81 t
            940-902-8038
08/19/23    NETFLIX.COM                              866-579-7172    CA                           $21.64 t
            NETFLIX.COM
08/19/23    CENEX RED RIVER FARM COOP                GAINESVILLE     TX                           $23.26 t
            AUTO FUEL DISPENSER
08/19/23    CENEX RED RIVER FARM COOP                GAINESVILLE     TX                           $70.76 t
            AUTO FUEL DISPENSER
08/19/23    AplPay SWEET JAYNE'S BAKESHOP 0000       GAINESVILLE     TX                           $16.71 t
            940-902-8038
08/20/23    AplPay UBER EATS                         help.uber.com   CA                           $86.10 t
            8005928996
08/20/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/21/23    CORK AND PIG TAVERN MIDLA 650000011463   MIDLAND         TX                          $120.00 t
            4324004121
08/21/23    STARBUCKS                                800-782-7282    WA                           $30.00 t
            8007827282
08/21/23    CRISP GARDEN OPPA KOREAN 0001            MIDLAND         TX                          $182.76 t
            646-858-9185


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  DUSTIN T ETTER                                     Account Ending 0-61006                          p. 8/12


 Detail Continued                                                                  t - denotes Pay Over Time activity
                                                                                                         Amount
08/22/23    JUJI'S KITCHEN, LLC                             Midland           TX                           $55.00 t
            squareup.com/receipts
08/22/23    TKILAZ MEXICAN RESTAURANT 924719096497          MIDLAND           TX                           $16.12 t
            MELY62@HOTMAIL.COM
08/22/23    STRIPES 0909695900 0909                         MIDLAND           TX                          $175.00 t
            999-999-9999
08/22/23    MICHAEL'S CHARCOAL GRILL 5611050012095          MIDLAND           TX                           $49.85 t
            432-686-9030
08/22/23    THE BLUE DOOR 436845559753321                   MIDLAND           TX                          $246.91
            THEBLUEDOOR79705@GMAIL.CO
08/23/23    STARBUCKS                                       800-782-7282      WA                           $30.00 t
            8007827282
       JEROD P FURR
       Card Ending 0-61014
                                                                                                         Amount
07/25/23    SONIC DRIVE IN #4076 000000000005625            SPRING            TX                           $15.57 t
            2814191874
07/26/23    ECOSHIELD PEST SOLUTIONS 4368455582590          HOUSTON           TX                          $568.31 t
            INFO@THESHIELDCO.COM
07/27/23    INTUIT *PAYROLLEE USAGE                         800-446-8848      CA                           $43.30 t
            CL.INTUIT.COM
07/27/23    TRULUCKS SEAFOOD STEA                           HOUSTON           TX                          $198.08 t
            7137837270
07/28/23    15528 FM 2854 RD 57546413600                    MONTGOMERY        TX                          $102.48 t
            9365882636
07/31/23    SONIC DRIVE IN #4076 000000000005625            SPRING            TX                           $23.99 t
            2814191874
08/02/23    BEST BUY                                        HOUSTON           TX                          $162.36 t
            888BESTBUY
08/04/23    BUC-EE'S #26 OUTSIDE/UNBRANDED                  MADISONVILLE      TX                          $107.80 t
            GAS AND CONVENIENCE STO
08/04/23    BUC-EE'S #26/UNBRANDED                          MADISONVILLE      TX                           $57.46 t
            GROCERY STOR
08/04/23    TST* CHICKEN FOOT CHISHOL 00003733              OKLAHOMA CITY     OK                           $62.15 t
            RESTAURANT
08/04/23    TST* RISERVA CHISHOLM CRE 00113806              OKLAHOMA CITY     OK                           $40.20 t
            RESTAURANT
08/04/23    TST* CHICKEN FOOT CHISHOL 00003733              OKLAHOMA CITY     OK                           $42.40 t
            RESTAURANT
08/05/23    MCDONALD'S                                      EDMOND            OK                           $23.10 t
            4054785444
08/05/23    MCDONALD'S                                      EDMOND            OK                             $7.58 t
            4054785444
08/06/23    QT                                              HUTCHINS          TX                           $19.65 t
            INSIDE SALE
08/06/23    ENVERUS, INC.                                   800-282-4245      TX                          $256.21 t
            SOFTWARE
08/06/23    ONCUE 134 09485327                              OKLAHOMA CITY     OK                           $19.29 t
            ONCUE 134
08/06/23    ONCUE 134 09485327                              OKLAHOMA CITY     OK                           $83.08 t
            ONCUE 134
08/10/23    SUNOCO 0893649400 0893                          CONROE            TX                          $110.39 t
            936-756-6738
08/10/23    NAPA PARTS 0031703 0031                         MONTGOMERY        TX                          $296.50 t
            936-597-5355



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           Business Platinum Card                                                           p. 9/12
           ALLIANCE ENERGY PART
           DUSTIN T ETTER
           Closing Date 08/24/23                                          Account Ending 0-61006


 Detail Continued                                                         t - denotes Pay Over Time activity
                                                                                                Amount
08/11/23    CHEVRON 0376813/CHEVRON                  MAGNOLIA        TX                           $86.21 t
            SERVICE STN
08/12/23    TST* ESCALANTES - THE WO 00104127        THE WOODLANDS   TX                          $288.56 t
            RESTAURANT
08/12/23    PERRYS STEAK HOUSE & G 0000              SPRING          TX                          $109.05 t
            RESTAURANT
08/12/23    PERRYS STEAK HOUSE & G 0000              SPRING          TX                           $57.63 t
            RESTAURANT
08/12/23    PERRYS STEAK HOUSE & G 0000              SPRING          TX                          $278.20 t
            RESTAURANT
08/14/23    THE HOME DEPOT 6819                      MAGNOLIA        TX                          $465.96 t
            HOME SUPPLY WAREHOUSE
08/14/23    THE TOASTED YOLK - MAGNOL 000000001      MAGNOLIA        TX                           $61.52 t
            4695991581
08/15/23    GOODSHUFFLE                              DALLAS          TX                      $31,387.28
            2146376334
08/16/23    TMOBILE*AUTO PAY                         800-937-8997    WA                          $200.00 t
            981209502 98006
08/16/23    MCDONALD'S F39505 000000000677035        SPRING          TX                           $16.32 t
            2814634022
08/17/23    POPEYES 12638 0000                       SPRING          TX                           $30.39 t
            713-266-8799
08/17/23    HCTRA EZ TAG REBILL                      281-875-3279    TX                           $80.00 t
            281-875-3279
08/19/23    TMOBILE*AUTO PAY                         800-937-8997    WA                           $55.00 t
            981203869 98006
08/19/23    TMOBILE*AUTO PAY                         800-937-8997    WA                           $55.00 t
            981204081 98006
08/23/23    AUTOZONE #4201 000004201                 MAGNOLIA        TX                           $37.86
            8002886966
       JEANA HURLEY
       Card Ending 0-63028
                                                                                                Amount
07/28/23    HP INSTANT INK DELIVERY                  855-785-2777    CA                             $6.48 t
            3231895196525963 77379
            HP INSTANT INK 2023.06.27 - 2023.07.26
07/30/23    AGP*BTPROPANE                            610-337-7000    PA                           $37.70 t
            UTILITIES
08/06/23    GOOGLE*DOMAINS GOOGLE PAYMENT            G.CO HELPPAY#                               $100.87 t
            BUSINESS SERVICE
08/10/23    AMAZON MARKETPLACE NA PA                 AMZN.COM/BILL   WA                          $115.47 t
            BOOK STORES
08/22/23    HP.COM                                   800-473-4732    CA                          $539.93 t
            H355411720 77316
            H355411720-539.93
08/22/23    HP.COM                                   800-473-4732    CA                          $326.86 t
            H355411737 77316
            H355411737-326.86
08/22/23    ASMC LLC 0602                            LIBERTYVILLE    IL                        $1,578.50 t
            888-660-0334




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  DUSTIN T ETTER                                            Account Ending 0-61006                                          p. 10/12




  Fees

                                                                                                                               Amount
Total Fees for this Period                                                                                                        $0.00



  Interest Charged

                                                                                                                               Amount

Total Interest Charged for this Period                                                                                            $0.00

About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called
"trailing interest". Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that
happens, we charge interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest
on purchases by paying your balance in full and on time each month. Please see the "When we charge interest" sub- section in your
Cardmember Agreement for details.



  2023 Fees and Interest Totals Year-to-Date
                                                                                                                               Amount
  Total Fees in 2023                                                                                                             $0.00
  Total Interest in 2023                                                                                                           $0.00




  Interest Charge Calculation
  Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                   Annual       Balance Subject                 Interest
                                                                           Percentage Rate      to Interest Rate                 Charge

 Pay Over Time option                                                              23.49% (v)              $0.00                   $0.00
 Total                                                                                                                            $0.00
 (v) Variable Rate



  Information on Pay Over Time

  There is a no pre-set spending limit on your Card
  No Preset Spending Limit means your spending limit is flexible. Unlike a traditional card with a set limit, the amount you can spend
  adjusts based on factors such as your purchase, payment, and credit history.

  Pay Over Time Limit
  There is a limit to your Pay Over Time feature balance. Your Pay Over Time Limit is $15,000.00. We may approve or decline a charge
  regardless of whether your Card account balance exceeds or does not exceed your Pay Over Time Limit. You must pay in full all
  charges that are not placed into a Pay Over Time balance by the Payment Due Date.

  Available Pay Over Time Limit
  Your Available Pay Over Time Limit is $87.09 and is accurate as of your statement date. This Limit is the remaining amount that you can
  add to your Pay Over Time balance. The Available Pay Over Time Limit amount is calculated by subtracting your Pay Over Time balance
  from your Pay Over Time Limit. If you have a preset spending limit on your account that is less than your Pay Over Time Limit, you may
  not be able to use some or all of your Available Pay Over Time Limit.

  Pay Over Time Setting: ON
  The setting indicated above is accurate as of your statement closing date. For the most up to date setting, please refer to your online
  account. If your setting is On, eligible charges will be placed in your Pay Over Time balance up to your Pay Over Time Limit. If your
  setting is Off, all charges will be added to your Pay In Full balance and no new charges will be included in your Pay Over Time balance.
  If you have an existing Pay Over Time balance, you can continue to pay this off over time with interest, as long as you pay your
  minimum due each month by your Payment Due Date.
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         DUSTIN T ETTER                                   Closing Date 08/24/23               Account Ending 0-61006
            IMPORTANT NOTICES

EFT Error Resolution Notice
In Case of Errors or Questions About Your Electronic Transfers Telephone us at 1-800-IPAY-AXP for Pay By
Phone questions, at 1-800-528-2122 for Pay By Computer questions, and at 1-800-528-4800 for AutoPay and at
1-800-CASH NOW for Express Cash questions. You may also write us at American Express, Electronic Funds
Services, P.O. Box 981531, El Paso TX 79998-1531, or contact us online at www.americanexpress.com/
inquirycenter as soon as you can, if you think your statement or receipt is wrong or if you need more information
about a transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name and account number (if any).
    2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you
         believe it is an error or why you need more information.
    3. Tell us the dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to
do this, we will credit your account for the amount you think is in error, so that you will have the use of the money
during the time it takes us to complete our investigation.


Important Information About Your Card
Effective August 17, 2023, the Additional Business Green Rewards Card will become the Additional Business
Expense Card. The Card, Card Member communications, and all other references will be updated to reflect this
name change. When any Additional Business Green Rewards Card(s) associated with your account expire(s),
you will receive the updated Additional Business Expense Card by mail. Alternatively, you or your Additional Card
Member(s) can request a replacement by going online or calling the number on the back of your Card(s). Your
Additional Card Member(s) can continue to use the Additional Business Green Rewards Card(s) associated with
your account until expiration and/or replacement.

Effective November 2, 2023, your Cardmember Agreement will be updated to reflect the new Card name. We
encourage you to share this information with any impacted Additional Card Member(s) on your account.




                                      End of Important Notices.
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Business Platinum Card
ALLIANCE ENERGY PART
DUSTIN T ETTER
Closing Date 08/24/23                                       Account Ending 0-61006
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 DUSTIN T ETTER                                    Account Ending 0-61006




American Express® Cards Warmly Welcomed
WHEATON VAN LINES             QTEGO LLC                        MAINSTREETHOST                 CRYSTORAMA
From packing & planning to    Are you a school, hospital, or   Affordable Digital Marketing   A wholesale luxurious interior
loading & delivery, we keep   another industry looking to      for Small Businesses. SEO,     lighting design showcasing
you updated with clear        fundraise? Fundraise easier      PPC, Websites, Content &       chandeliers, ceiling, pendant
communication during your     with us!                         Social Media. Trusted          lighting, and sconces.
relocation.                   Visit us @ Qtego.com             Professionals for 20+ Yrs!     crystorama.com
Wheatonworldwide.com                                           Mainstreethost.com
866-979-4446                                                   888-874-3791
